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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

   ATLAS AIR, INC, et al.,
                                             Civil Action
                 Plaintiffs,                 No. 1:17-cv-1953

           vs.                               Washington, DC
                                             November 2, 2017
   INTERNATIONAL BROTHERHOOD
   OF TEAMSTERS, et al.,                     11:11 a.m.

               Defendants.
   __________________________/


      TRANSCRIPT OF MOTION FOR PRELIMINARY INJUNCTION - DAY 3
                 BEFORE THE HONORABLE RANDOLPH D. MOSS
                   UNITED STATES DISTRICT COURT JUDGE

   APPEARANCES
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   _____________________________________________________________

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                                Washington, DC 20001

   Proceedings recorded by realtime stenographic shorthand;
   transcript produced by computer-aided transcription.
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1                             P R O C E E D I N G S

2                  DEPUTY CLERK:    Civil action 17-1953, Atlas Air,

3       Incorporated, et al. versus the International Brotherhood of

4       Teamsters, et al.    Will counsel please approach the podium

5       and identify yourselves for the record.

6                  MR. SIEGEL:    Good morning, your Honor.     Robert

7       Siegel from O'Melveny & Myers for the plaintiffs.        And again

8       with me are my colleagues Mike McGuinness, Rachel Janger and

9       Sloane Ackerman.

10                 THE COURT:    Good morning to all of you.

11                 MR. GLEASON:    Good morning, your Honor.     Ed

12      Gleason from the Law Office of Edward Gleason.        I'm here

13      representing the defendants.     With me again today are my

14      colleagues Dierdre Hamilton and Jim Petroff.

15                 THE COURT:    Good morning to all of you.     So let's

16      get going here.    I do want to let the parties know I've got

17      to be on a call today at 4:30, so we won't be able to go

18      past 4:30.   We may want to go into lunch a little bit

19      further, and people should just do their best to move things

20      along as fast as they can.

21                 Okay, please proceed.

22                 MR. SIEGEL:    Your Honor, our next witness is

23      William Flynn.

24                 DEPUTY CLERK:    Do you solemnly swear or affirm

25      under the penalties of perjury that the testimony you shall
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1       give will be the truth, the whole truth and nothing but the

2       truth, so help you God?

3                  THE WITNESS:    I do.

4                  DEPUTY CLERK:    Thank you.   You may be seated.

5                  THE WITNESS:    Thank you.

6

7            DIRECT EXAMINATION OF PLAINTIFFS' WITNESS WILLIAM FLYNN

8       BY MR. SIEGEL:

9            Q.    Good morning, Mr. Flynn.      Could you please state

10      your full name for the record.

11           A.    William James Flynn.

12           Q.    And what is your -- who is your current employer

13      and what is your current position?

14           A.    I'm employed by Atlas Air Worldwide, and I'm the

15      president and chief executive officer.

16           Q.    And how long have you been the chief executive

17      officer of Atlas Worldwide?

18           A.    Since 2006, just a little over 11 years.

19           Q.    And do you also sit on the board of directors of

20      Worldwide Holdings?

21           A.    Yes, I do.

22           Q.    Now, before I begin with just a few questions,

23      Mr. Flynn, may I ask whether or not you adopt and confirm

24      the declaration you filed in this case as your direct

25      testimony?
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1            A.    Yes, I do.

2            Q.    And I'll note that's Plaintiffs' Exhibit 125.        I'd

3       like to just ask you a few questions, Mr. Flynn, about the

4       highlights of the testimony you already provided in the

5       declaration.   I'd like to turn your attention to the current

6       allegation by the company the union has engaged in an

7       illegal slowdown at Atlas.

8                  In your view, has the slowdown that has been

9       alleged in this complaint impacted the company's business

10      reputation?

11           A.    Yes, it has.

12           Q.    And can you describe how it has?

13           A.    So from my perspective, the Atlas brand and the

14      product that we provide to our customers is one of

15      exceptionally high, reliable service quality; time-definite

16      performance.   And since our beginning as a company back in

17      1992 and our first flight in 1993, that's really been the

18      hallmark of our brand and what's defined the relationship

19      with our customers.

20           Q.    Now, how specifically do you personally know that

21      the -- that what we've called the slowdown campaign is

22      harming the company's reputation with its customers?

23           A.    Well, as you might imagine, I regularly talk to

24      our customers.    We actually have quite few customers.        The

25      nature of our business isn't one where we have hundreds of
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1       thousands of potential passengers in the passenger business.

2       We actually have a fairly concentrated customer base.          And

3       our customers spend millions if not hundreds of millions of

4       dollars with us each year.     So I regularly interact with the

5       CEO, the CFO and chief commercial officers of our companies,

6       and I can tell you the conversation has changed.

7                  Rarely before February of 2016 was I engaged in

8       long and sometimes difficult conversations about service and

9       service quality.    But that's changed.     And so the

10      conversations I've had really since that period of time have

11      been about deteriorating service quality, concerns that

12      customers have raised to me -- because they're knowledgeable

13      buyers of air freight services and air services, of an

14      increase in sick calls and fatigue calls because they

15      certainly do know what our daily operation reports look

16      like.

17                 Other customers have raised to me where they've

18      observed where pilots have refused to fly for issues like

19      catering which they've never observed before.        And these are

20      executives from airlines that understand airline operations

21      very well.   And recently, a CEO of one of our largest

22      customers said to me something to the effect:        "You know,

23      Bill, we really should be talking about growth and growth

24      opportunities.    Instead we're spending our time here talking

25      about services, quality and service interruptions and that's
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1       just not right."

2              Q.   And Mr. Flynn, can you tell us whether or not

3       you've also received complaints from investors regarding the

4       pilot slowdown campaign?

5              A.   I have.   As chief executive officer, I regularly

6       meet with our investors.     That also includes DHL and Amazon

7       who are large investors in the company as well.        There's

8       been a fairly public campaign about service and service

9       interruptions, and so I'm regularly asked now by investors

10      about the nature of the operations and the nature of these

11      interruptions.    So it's again a new kind of conversation for

12      me to have with that important group of people.

13             Q.   Has this campaign harmed the company's potential

14      for future business?

15             A.   Future and existing business.     Future and existing

16      business.   If you think about what we do, our operations are

17      highly integrated into our customers' operations.        DHL for

18      example, pick up at the door in Hong Kong, and then they

19      ultimately deliver that package in New York on the following

20      day.   We provide the airport to airport lift, Hong Kong to

21      Cincinnati for example.

22                  If we're delayed, they're going to be delayed.       If

23      they've made a promise for time-definite international

24      next-day delivery and we're delayed, they're going to miss

25      the delivery to their customers.      And so not only is our
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1       reputation, our goodwill hurt with DHL or any of our other

2       customers -- and I could enumerate them all, their

3       reputation, their goodwill, their customers' trust in them

4       is hurt as well.    And so in an environment like that, I

5       believe our existing business is at risk, and certainly

6       future business opportunities more likely than not are going

7       to go elsewhere.

8            Q.    Now, if the company loses either the existing

9       business or the future business, will the company have any

10      easy path to recover the business in the future?

11           A.    No, we won't.    The harm is real.    The risk is

12      real.   Going back to my prior comment.      If we're integrated

13      into the customers' operations -- highly integrated, and

14      that's DHL, that's Amazon, that's Qantas and Cathay and some

15      of the other customers we enumerated, there are real costs

16      to switching service providers; switching costs as they're

17      often referred to in business or in a supply chain

18      environment.

19                 Once our customer elects to work with another

20      service provider to re-engineer their supply chain or their

21      operational distribution chain and then rewire another

22      supplier in, another airline in, it will be very difficult

23      to pull that customer back to us because of the huge and

24      substantial cost they would have in switching back to us.

25      So once they're gone, they're gone.      And that's the risk
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1       we're running, reputational and truly business risk we're

2       running with the operational slowdowns and activity we're

3       experiencing.

4            Q.     Mr. Flynn, could you give us any examples of

5       specific business relationships that the slowdown campaign

6       has put at risk?

7            A.     Well, I think they're all at risk to some degree

8       or another.    But the one that's particularly concerning and

9       top of mind for me is our relationship with the military.

10      We're the largest provider today of full plane load services

11      to the U.S. military, both passenger we're the number one

12      and cargo we're number one.     And I think as we saw and

13      recall as we saw in Dr. Lee's testimony, among the customers

14      most affected by these operational disruptions has indeed

15      been the U.S. military.

16                  And so what do we see?    We see troops, war

17      fighters arriving into the military theater of operations

18      late; cargo that they need, vital supplies that they need

19      late potentially risking their lives, risking their

20      missions.   And on the return, troops coming home after long

21      deployments anxious to get home and see their families have

22      experienced what I'd call unconscionable delays.        Not only

23      inconveniencing them and causing anxiety to them, but also

24      to their families.

25                  And their families have complained to me.      I've
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1       spoken to quite a few spouses and other members, family

2       members.   They've complained to Congress.       A few have asked

3       Congress to intervene and cancel our contract.        And we have

4       service performance standards with the military, and if we

5       fail to meet those standards we'll lose future flights.

6             Q.   Now, have you, Mr. Flynn, observed any effect of

7       the slowdown campaign on other non pilot Atlas employee

8       groups?

9             A.   Sure, we're one team, our pilots and the people

10      that work in the company and support the pilots and

11      everything else that we do; our operational people; our

12      sales and marketing people; our finance accounting people.

13      So there's been an impact certainly to morale.        And so our

14      non pilot employees absolutely feel and share the concern

15      that I have about our brand, about our reputation, about our

16      relationship with our customers because they hear it as

17      well.

18                 If you're in sales and marketing customer service,

19      you're dealing with the customers directly and you're on the

20      front line taking those complaints.       If you're in

21      operations, you're certainly dealing with all the

22      rescheduling and all the work that has to be done in a

23      fairly intense, 24/7 and challenging environment.

24            Q.   And how have you observed the slowdown campaign

25      affecting the public, the consumers?
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1             A.    So again, think about who our customers are.         It's

2       Amazon, it's DHL Express, it's the other large carriers of

3       international air freight, Qantas and Cathay Pacific for

4       example.    And so ultimately those are our customers.          But if

5       you think through the end customer, you ultimately get to

6       the consumer, you ultimately get to the public.        And the

7       public is harmed here, because the things that they've

8       ordered, the packages that they expect are going to arrive

9       late.

10                  If you think about some of the businesses and

11      other things that we carry, we're carrying medical supplies,

12      biomedical tests, important business documents, things that

13      are urgently needed.     That's why customers use air freight.

14      It costs more than any other mode, but time is important,

15      and time-definite delivery is what the customer expects.

16      And that is being impaired.

17            Q.    Now, Mr. Flynn, can you tell us what, if any,

18      communications you have had with union leadership about the

19      slowdown?

20            A.    I personally had a meeting on May 31st of this

21      year, 2017, with the director of the aviation division of

22      the International Brotherhood of Teamsters.        And I conveyed

23      to him my concern that we are experiencing service

24      interruptions, that we're a target of a concerted slowdown

25      campaign.    And particularly I raised my concerns about the
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1       impact to military operations, our troops and their

2       families.

3             Q.    And how did the director of the IBT airline

4       division respond to your statement?

5             A.    He stated:   "That's not right, it should stop."

6             Q.    After your May 31st, 2017 meeting in which the IBT

7       director said it should stop, did the slowdown in fact stop

8       or lose intensity after that conversation?

9             A.    No, it didn't.   And in fact, after May as

10      indicated I think in Dr. Lee's reports, you'll notice that

11      the interruptions to the military increased beyond what they

12      were in several months.

13            Q.    And after your May 31st, 2017 conference with the

14      director of the airline division of the IBT, did you ever

15      see any communication from the union informing the pilots

16      that they should stop the slowdown activity?

17            A.    No, quite to the opposite.     In fact, what I saw

18      were continued communications to SHOP, to BOOT and to

19      threaten pilots that didn't comply.

20            Q.    Mr. Flynn, notwithstanding the fact that you

21      didn't see any communications, did you at that point in time

22      in the middle of 2017 have any hope or belief that the

23      slowdown would cease at some point?

24            A.    Well, I did, I had some hope, and I think several

25      of us at the company did.      And I believed that indeed the
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1       slowdown and the actions might stop.       And that was because

2       we signed what we've referred to as the protocol agreement.

3       It has a much longer name, but the negotiation process to

4       ultimately reach a new joint collective bargaining

5       agreement.    We signed that in June of 2017.

6             Q.    And was that protocol agreement, if you can

7       just -- that was not an agreement on the terms of a

8       collective bargaining agreement but was rather an agreement

9       on the process for negotiating the contract?

10            A.    We started negotiating this protocol agreement as

11      I've called it in October of 2016.       And indeed, it's a

12      process agreement.     We signed and agreed to the terms of

13      that process agreement in June of 2017, and have been indeed

14      negotiating with the union since we signed that agreement

15      and put it into effect.

16            Q.    Now, can you just briefly describe for the Court

17      the nature of that agreement, what was the process that the

18      parties agreed upon?

19                  MR. GLEASON:   Your Honor, at this point I've been

20      patient but I do have to object if we're going to start

21      getting into things that are -- just as a heads up, if we're

22      going to start getting into issues that involve litigation

23      in New York, this is going to take a lot longer than I've

24      got time.

25                  THE COURT:   I don't necessarily see this as
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1       getting into the litigation in New York, but if it does I

2       will heed your --

3                  MR. GLEASON:    I appreciate that, because I'm

4       running out of time here.

5                  THE COURT:    I understand.    So let's not get into

6       the New York litigation.

7       BY MR. SIEGEL:

8             Q.   I don't want to get into the litigation in New

9       York, so we agree.     I just wanted a brief overview of what

10      you call the process agreement?

11            A.   So the process agreement really contemplates three

12      sections or three segments of negotiation.        And so the union

13      and the company have agreed on specific articles that would

14      be negotiated in three tranches.      The first tranche is

15      probably the most -- the easiest articles we might agree on,

16      ones where we may have already had some temporary agreements

17      or TAs in place.

18                 When that first segment is completed -- there's a

19      time period associated with that, we would then move into

20      the second tranche which is article-specific from the

21      collective bargaining agreement with a time period on that.

22      And then once we complete that time period or as much as

23      we've completed of the second tranche, we would move into

24      the third tranche.     And I believe that runs through February

25      of next year.
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1             Q.   Okay.   Now --

2                  THE COURT:    I'm sorry, by February of next year,

3       do you mean just three or four months from now or a year and

4       a half?

5                  THE WITNESS:     It's the process has an end date of

6       February 2018.     It could be extended by the parties, there

7       are different things that the agreement provides for.

8                  THE COURT:    Okay, thank you.

9                  THE WITNESS:     Yes, sir.

10      BY MR. SIEGEL:

11            Q.   Now, was there -- since that agreement took

12      effect, have you noticed any difference in the slowdown

13      activity that we've alleged in the complaint?

14            A.   Well, you asked before if we were -- did we have

15      some hope or expectation that things might change.         One of

16      the conditions or terms in the protocol agreement said that

17      these negotiations would be conducted -- I don't have the

18      exact quote, but in an environment of trust, mutual trust

19      and good faith.    And so that gave us some expectation and

20      some hope that we'd see a change in behavior, but we

21      haven't.

22            Q.   Okay.   And since the protocol agreement was

23      signed, have you observed any communications from the union

24      asking the pilots to stop the slowdown campaign?

25            A.   No, to the contrary.     In fact, what we've seen is
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1       communications that talk about intensifying the slowdown,

2       specific focus on the fourth quarter talking about the peak

3       and an intensity or intensifying disruptions during the peak

4       period which we're in now.

5             Q.   When you talk about the threats to the peak busy

6       period, does that cause you concern?

7             A.   It causes me huge concern.      Not only -- I've

8       talked about the customers that we serve on a year-round

9       basis, customers we've served for a long time such as DHL, a

10      new customer like Amazon and some of the others.        But in the

11      peak period, we also enter into service agreements and

12      provide supplemental lift to Fed Ex and to UPS as well.

13      This is the busiest time of year for them.        And so now we're

14      in that peak period, we're serving our customers, we're

15      serving these additional express operators.        So in fact, we

16      serve all express operators during this peak period of time.

17                 And they're ultimately serving the public.           In

18      addition to our need to serve the military at this time of

19      year, typically we have troop rotations, soldiers and men

20      and women coming home for the holiday period for example.

21      So disruption in the peak certainly hurts our company and

22      causes harm and damage to our reputation and our business,

23      but more so to our customers and all the way through to the

24      public, and that's why I'm concerned.

25            Q.   Mr. Flynn, is that why Atlas has decided to seek
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1       this preliminary injunction at this time?

2             A.   Yes, it is.    We didn't want to come to court.       We

3       didn't want to sue our -- the union.       We had hoped that we

4       would be on a different and on a better path, particularly

5       as a result of the protocol agreement.       But we're in an

6       urgent situation.     We're in the peak now.     We've had the

7       threats that we've read and know about disruption during

8       this peak period of time.      And so we're in court today

9       seeking an order to compel the union to meet its statutory

10      obligations.

11                 MR. SIEGEL:    Thank you, Mr. Flynn.     I have no

12      further questions.

13                 THE COURT:    Okay, thank you.    Mr. Gleason, your

14      witness.

15

16            CROSS-EXAMINATION OF PLAINTIFFS' WITNESS WILLIAM FLYNN

17      BY MR. GLEASON:

18            Q.   Mr. Flynn, you've had new customers since 2016,

19      haven't you?    You've got -- for instance, Asiana is a new

20      customer for Atlas, isn't it?

21            A.   That's correct.

22            Q.   Cathay Pacific, that's a new customer too, isn't

23      it?

24            A.   Yes, it is.

25            Q.   NCA, that's a new customer, isn't it?
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1             A.   Yes, they are.

2             Q.   And Amazon of course is a new customer?

3             A.   Yes, they are.

4             Q.   And its an investor yours --

5             A.   Yes, they are.

6             Q.   -- since February of '16?      You've given many an

7       investors call as the CEO of the holding company where

8       you've talked and you've presented slides through your staff

9       and your colleagues, your executives that talk about a

10      transformational change at Atlas.

11                 You agree that there's been a transformational

12      change with your company, correct?

13            A.   Yes, I do.

14            Q.   And that's a transformational change that's been

15      taking place certainly over the course from 2016 to today,

16      correct?

17            A.   Yes, the transformational change --

18            Q.   That was all.

19                 THE COURT:    No, no, please finish.

20                 THE WITNESS:    Thank you.

21                 THE COURT:    I know you've got time but --

22                 MR. GLEASON:    I hear you, I understand.

23                 THE COURT:    -- this is an important point --

24                 MR. GLEASON:    Okay, I hear you.

25                 THE COURT:    -- and you can't cut him off before he
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1       gets to answer.

2                   THE WITNESS:   So the transformational change is

3       really about the customers we serve and the market segments

4       that we serve.    And so the first transformation that we've

5       had was to move from a single fleet of 747s into also a 767

6       fleet which began in 2012.      And we've been able to grow both

7       fleets with the majority of the growth coming in the 67

8       fleet.

9                   But what's been transformational I think -- and

10      this is really the message that I'm communicating to our

11      investors.    The nature of the customers have changed.         As

12      opposed to being -- providing one or two aircraft to their

13      operations, we're core.     And so now at Atlas we're providing

14      26 aircraft to DHL.     We acquired Southern.     When you add

15      that up, now it's 36 to DHL.      These are long term

16      fundamental relationships whereas if you looked at us 10

17      years ago, they were more occasional.

18                  Amazon is transformational.     It's a 10-year

19      contract.    It's the longest contract we've signed in the

20      company.    So what's transformational is the nature of the

21      customers, the long term relationships that we're building

22      with them, and as Captain Carlson testified yesterday, the

23      customers inherently are more scheduled and more

24      predictable.    DHL and Express Network is scheduled.       Amazon

25      is scheduled.    Cathay Pacific has a reputation of being one
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1       of the best operators in the Trans-Pacific.        They are

2       scheduled.

3                  So the transformation:     More predictable business,

4       longer term relationships and less operational complexity

5       given the nature of the scheduled networks they operate.

6       That's what I talk about.

7       BY MR. GLEASON:

8             Q.   Mr. Flynn, you talked about less operational...

9             A.   Complexity.

10            Q.   Complexity.    And how can you do that?     How do you

11      talk about less operational complexity when you run a mixed

12      operation first of all with your pilots under two different

13      rest and duty time regimes?      How do you call that less

14      operationally complex?

15            A.   You're referring to 117 and 121?

16            Q.   Yeah, I am, yeah.

17            A.   Well, we -- as Captain Carlson mentioned

18      yesterday -- I'll rely on a third party source to support my

19      answer.    That's something we know how to well manage.         We

20      began preparing for 117 as, your Honor, you asked yesterday

21      in 2012, early 2013 for something that came into effect in

22      2014.

23                 We've been audited regularly by the FAA, and

24      they've deemed that our procedures, our FRMS in place, the

25      way we schedule crew and manage crews complies, it is safe.
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1       And so we can manage some degree of complexity.        And yes,

2       117, 121 is more complex, but we've been able to manage that

3       throughout the several years now -- three years now I guess,

4       that we've been operating both systems.       We're able to do

5       that.

6             Q.    And indeed the fact that you have to operate under

7       both systems is because Atlas played a leading role in

8       ensuring that Atlas and the all cargo issue was carved out

9       of part 117, isn't that true?

10            A.    No, that's not true.

11            Q.    It's not true that Captain Carlson didn't

12      participate and lobby to ensure that you and your company

13      were carved out of the part 117 play time and duty time

14      requirements, that's not true?

15            A.    Captain Carlson was invited to participate in the

16      Advanced Rulemaking Committee, the ARC, because the FAA

17      reached out and asked to have participants in the ARC from

18      the breadth of industry.     Captain Carlson didn't sneak in to

19      try and carve out -- let me finish my answer, didn't sneak

20      it to try and carve out the airline -- or the cargo

21      industry.

22                  What happened was after an extensive, multi-year

23      rulemaking procedure, the FAA determined that new rules,

24      part 117 were required for passenger operations.        At the

25      same time, the FAA determined that the cargo carriers
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1       operating under part 121 were indeed safe and that new rules

2       weren't required.     That's not a carve out.     That was

3       challenged, the rulemaking procedure was challenged by the

4       IPA, the union representing UPS.      The challenge was heard in

5       appeals court in Washington, and the Court indeed affirmed

6       that the rulemaking process that the FAA used was proper,

7       and that the two sets of rules are safe.

8             Q.   So my question to you wasn't about Captain Carlson

9       sneaking in, my question to you had actually to do with the

10      fact that isn't it true that Atlas actually engaged in

11      lobbying activity to ensure that it's all cargo operations

12      would not be covered by the part 117 regulations?

13            A.   There have been several bills introduced in

14      Congress to overrule and overturn the FAA's rulemaking

15      procedure and to legislatively put cargo operations under

16      117; to put cargo operations under 117 overturning the

17      rulemaking procedure effectively of the FAA.        And yes, we

18      have lobbied, we have met with members saying that's not

19      right, that doesn't make sense.      The FAA and the DOT

20      determined that 121 rules are indeed safe.

21            Q.   Again, my question actually was relating to the

22      implementation of the final rule itself which went into

23      effect in January of 2014.      Isn't it true that Atlas did

24      engage in lobbying to ensure that it, along with the all

25      cargo industry, would not be covered by those -- by that
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1       final rule?

2             A.    Atlas lobbied to make sure that the FAA rule and

3       determination, the DOT's determination that 121 was indeed

4       safe, we lobbied to make sure to convey that we support the

5       FAA and the DOT's rulemaking.

6             Q.    So again, when you did that, did you explain --

7       before the FAR part 117 was implemented, did you explain to

8       the regulatory officials or to Congress through your staff,

9       through your lobbyists that the Atlas and the all cargo

10      industry shouldn't even be included in the new FAR rule that

11      was to be promulgated?

12            A.    I don't understand the question, because that was

13      never a point.    The FAA had already determined what the

14      rulemaking should be, so I didn't lobby to overturn the FAA

15      if that's what you're asking.

16            Q.    No, I'm asking if you lobbied to make sure that

17      FAR wouldn't ever include the all cargo part of the

18      industry?

19            A.    There's no such thing as never.      If the FAA

20      determines in the future that 121 shouldn't apply, then it

21      won't apply.

22            Q.    How about 117?

23            A.    If FAA determines in the future that 117 should

24      apply, then it will apply.      We never lobbied for legislation

25      to somehow bind or tie the hands of the FAA.
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1             Q.   Did you engage in any efforts with Atlas -- you

2       meaning Atlas, not just you personally, Mr. Flynn, to

3       educate, to ensure at the end of the day that when 117 was

4       promulgated, when it was first promulgated and went into

5       effect in 2014, that Atlas and the all cargo part of the

6       airline industry would not be included within part 117?

7             A.   I don't understand the question, because 117

8       applied to passenger.     And at the same time that 117 was

9       promulgated, the FAA and the DOT affirmed 121 for all cargo

10      operations.

11            Q.   During the rulemaking process, did you ever --

12            A.   I don't recall.

13            Q.   Let's move on.    You've said that you've had very

14      different -- since February of 2016, you've had very

15      different series of conversations with your colleagues, your

16      customers, your counterparts with your customers.        The

17      conversation changed since then and it's now been about the

18      service quality.    The service quality -- and you said that

19      your customers are well aware of your crew reports.

20                 I'm trying to understand what it is that prompted

21      them to start asking you about your service quality problems

22      starting in February of 2016?

23            A.   To be clear, I mean our operational reports,

24      because we have a shift report after every eight hours.         And

25      you can imagine that we regularly are speaking with our
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1       customers.    And we're speaking not just with their CEOs --

2       that's maybe who I speak with, but in our Global Control

3       Center, GCC, our operational people are speaking with

4       operational counterparts at all of our customers all the

5       time.

6                  And so when a flight's delayed, if there's a sick

7       call or a fatigue call or a refusal to accept catering, we

8       explain to our customers what's the cause of the delay.

9       They have a right to know.

10            Q.   Do your customers ask you why was there a fatigue

11      call on a specific flight?

12            A.   I'm not party to each one of those conversations,

13      but our customers have asked about the increase in fatigue

14      calls and the increase in sick calls.       Our customers, as I

15      mentioned earlier, are often airlines themselves or wise and

16      knowledgeable buyers of the services that we provide.           So

17      they have their own operations, and they have noticed an

18      increase in the amount of sick calls and fatigue calls that

19      we've experienced since February of 2016.

20            Q.   Sick and fatigue, I'm sorry?

21            A.   Yes, sir.

22            Q.   And what about open time, do they ever discuss

23      open time flying with you?

24            A.   I'm not party to the conversations directly.         I

25      don't know that open time comes up as frequently as sick,
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1       fatigue and catering.

2             Q.   Who's the CEO by the way that you were referring

3       to who said that he would prefer to be talking about growth?

4             A.   Ken Allen, CEO of DHL Express.

5             Q.   You also said that you're all one team meaning

6       every craft, the entire Atlas operation, they're all one

7       team including your pilots?

8             A.   Yes, we are all one team.

9             Q.   And when you get complaints about service quality

10      including from families from the military, why is it,

11      Mr. Flynn, that you've instructed as a company your front

12      line service employees to blame the pilots for everything?

13            A.   I haven't.

14            Q.   Oh.   So let's talk about -- we'll go back to that.

15      I want to hear about your conversation that you said you had

16      with the director of the airline industry.        If I heard you

17      say, he said:    "That's not right."

18                 Isn't it true that he said:      "If that's true,

19      that's not right," isn't that true?

20            A.   I don't recall him saying "if that's true."

21            Q.   Do you recall actually giving him facts, details

22      to back up the accusation that you were making to him?

23            A.   I discussed in general with the director.

24            Q.   You also met with the International Brotherhood of

25      Teamsters president.     It was actually at a get together just
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1       to get acquainted with Mr. Hoffa, isn't that true?

2             A.   I know Mr. Hoffa already, I've met with Mr. Hoffa

3       several times.    And yes, I was there to meet also with

4       Mr. Hoffa.    We were there to congratulate him on his

5       re-election.    We were there to celebrate and ceremonially

6       sign the collective bargaining agreement that we reached

7       with Teamsters Local 210, our dispatchers.        Our dispatchers

8       are also organized by the Teamsters, a different Local 210.

9       So it was a signing ceremony.

10            Q.   That was the reason for the get together with

11      Mr. Hoffa and the director of the airline division?

12            A.   That was a reason to get together with Mr. Hoffa.

13      But after the events that were described in the

14      April 24th-25th interruption of service for troops coming

15      back from Kuwait, on my trip to D.C. I fully intended to

16      discuss that with Captain Hoffa -- sorry, with Captain

17      Bourne, excuse me.

18            Q.   Captain Bourne is actually a pilot with Atlas,

19      he's been there for a long time, isn't that true?

20            A.   I met Captain Bourne the first day I started.

21            Q.   He's been here a lot longer at Atlas than you

22      have?

23            A.   He has.

24            Q.   And indeed, with that intent in mind coming into

25      Washington, you wanted to raise that issue with him, how
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1       come you didn't bring any details to back up what you were

2       going to tell him?

3             A.   I described verbally what was happening to Captain

4       Bourne.    And I'll be clear, Captain Bourne did not agree

5       that concerted action was going on.       He heard what I said.

6       So I don't want to mischaracterize what Captain Bourne said

7       to me, but he did say:     "That's to the right, that has to

8       stop."

9                  In terms of providing details, details are readily

10      available.    The union knows that.

11            Q.   And indeed we've asked for it from Mr. Dietrich

12      all the way back in 2016 when we were first accused of a

13      sick out, and he didn't provide that detail level to us

14      either, isn't that true?

15            A.   I've read many communications from the union

16      celebrating how effective SHOP and BOOT is working.         I would

17      imagine the union certainly knows the impact that's being

18      felt in our operation.     So I don't know that I need to

19      provide details if the union can celebrate the impact of

20      these activities.

21            Q.   Mr. Flynn, when did Atlas first retain Dr. Lee's

22      firm?

23            A.   We retained Dr. Lee in June of 2015.

24            Q.   Six months before Mr. Dietrich sent the letter --

25      or I'm sorry, Captain Carlson sent a letter to Local 1224
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1       saying that they were engaged in concerted illegal sick out?

2             A.    Six months before the early opener for our

3       contract.    Our contract opened, we had a 270-day early

4       opener provision in our contract.       And so December 13th of

5       2015 is when early opener contract negotiations were

6       supposed to begin with the union.       So we engaged him five or

7       six months before.     We engaged Dr. Lee back in 2010 when we

8       worked through the new 2011 contract.

9                   So we've routinely worked with Dr. Lee.      We always

10      intended to work with Dr. Lee in anticipation of negotiating

11      a new contract.

12            Q.    Well, actually you were here when Dr. Lee

13      testified, he said he was retained to monitor information in

14      2015.

15                  So monitor information, what was that about?        Why

16      did you hire him to monitor information?

17            A.    We hired him to study our operation.      We hired him

18      to give us insight and perspective on how the operation's

19      been behaving.    The operation has changed.      We've added more

20      equipment.    We've added new equipment types.      We serve new

21      destinations.    We began the domestic operation.

22      Transformation, as you and I discussed a few minutes ago.

23                  And so we hired Dr. Lee because we wanted to have

24      a deeper understanding, a more scientific understanding than

25      what we just intuit about our operation.       And Dr. Lee has
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1       done that for us before.

2             Q.   The contract -- the 2011 collective bargaining

3       agreement became amendable you said in 2015 -- September of

4       2015?

5             A.   No, the --

6             Q.   '16?

7             A.   -- contract became amendable in 2016, but the

8       contract had a provision that we would begin an early opener

9       or we would begin negotiations 270 days before the amendable

10      date.   And that's the December 2015 date.

11            Q.   And so again, that negotiation was going to be a

12      negotiation between the Atlas pilots and Atlas Air and

13      its -- and Polar, correct?

14            A.   Correct.

15            Q.   Okay.   And following into 2016 when Atlas Air

16      Worldwide Holdings announced its intent and ultimately did

17      indeed complete the purchase of Southern Air Holdings, Inc.

18      and its carriers, Southern Air, Inc. and Florida West, the

19      pilots there are covered by a separate collective bargaining

20      agreement at Southern Air, correct?

21            A.   Yes, they are.

22            Q.   And the pilots at Florida West were covered by yet

23      another collective bargaining agreement, isn't that correct?

24            A.   Yes, that's correct.

25            Q.   And the pilots at Florida West weren't even
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1       represented by the Teamsters, correct?

2             A.   You're right, that's correct.      In fact, we

3       informed the Teamsters that we did not intend to grow

4       Florida West, and that we would either sell or shut it down

5       which we did.

6             Q.   And you told the Teamsters that Atlas Air intended

7       to nevertheless merge the -- to that effect to merge the

8       Southern Air operations with the Atlas Air operations,

9       correct?

10            A.   Yes, we did.

11            Q.   Yes.   And it was based upon that that Mr. Dietrich

12      and you also embarked on a policy to ensure that the

13      standalone collective bargaining negotiations with the Atlas

14      pilots would be shoved to the side so that we would instead

15      have to negotiate to take two collective bargaining

16      agreements, the Southern contract and the Atlas contract,

17      and to merge them and to make them into a new contract,

18      correct?

19            A.   Not a policy, we were simply acting under the

20      provisions of contract.     We were prior to the amendable

21      dates on both contracts.     The Atlas contract became

22      amendable in September of 2016.      The Southern contract,

23      amendable I believe in November of 2016.       So in the

24      March-April timeframe -- or February I believe, sorry.          I'm

25      thinking of the closing date of Southern and when we
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1       notified the union.      So in February of 2016, we notified the

2       union of our intention under the contract to proceed under

3       article 1F.

4             Q.    And in March of 2016, Atlas told the Atlas pilots

5       negotiating team that they would no longer negotiate for a

6       standalone contract, but were instead going to negotiate

7       only for a joint collective bargaining agreement that

8       included Southern Air, isn't that true?

9                   MR. SIEGEL:    Your Honor, may I object.    I'll

10      actually echo Mr. Gleason's objection.       This is the subject

11      of the lawsuit in the Southern District, this is the

12      subject.

13                  THE COURT:    I understand, and on the one hand the

14      Court is perfectly happy to let Mr. Gleason use his time how

15      he wants to.    The one thing that I do want to avoid though

16      is I don't think this should be an occasion for taking

17      discovery in the New York litigation.       If it has something

18      to do with this case, you're welcome to explore it.         I just

19      don't want to use this as a tool for purposes other than

20      what it is.

21                  MR. GLEASON:   And it's not, your Honor.     It's not

22      a tool at all.    It's actually going to the very point that

23      there's a separate -- the negotiation that we started with

24      with a Section 6 notice is not the negotiation we're dealing

25      with now.    I think that's highly relevant.
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1                  THE COURT:    Well, I'll give you a little bit more

2       leash on this.    I just think that you need to be careful --

3                  MR. GLEASON:    I'm trying my best.

4                  THE COURT:    -- that we're not getting into

5       discovery in a different litigation.

6                  MR. GLEASON:    And I'm not.    Look, I fully

7       recognize I've got four hours to put my case on, so

8       understood.

9             Q.   Again, do you understand my question that in

10      March, Atlas told the Teamsters' Atlas pilots negotiating

11      that from here on end, starting in March of 2016, that Atlas

12      would only negotiate for a joint collective bargaining

13      agreement consisting of the Atlas pilots and the Southern

14      pilots?

15            A.   We advised that we would -- under the existing

16      contract, the one that would become amendable later that

17      year, that we were proceeding under section 1F of our

18      contract to promptly negotiate a new joint collective

19      bargaining agreement.

20            Q.   Covering both the Atlas and Southern pilots,

21      correct?

22            A.   That's the merge agreement, yes.

23            Q.   And that you call it a protocol, I think it's also

24      referenced as a framework agreement that you were discussing

25      with Mr. Siegel a little while ago?
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1             A.   Yes.

2             Q.   It's that framework or protocol agreement that you

3       said has been negotiated since October of 2016.        But that

4       framework agreement deals with a process by which the

5       parties would voluntarily try to negotiate a joint

6       collective bargaining agreement that would indeed combine

7       two contracts, Atlas' and Southern's, into one, correct,

8       that's the purpose of it?

9             A.   A protocol agreement to negotiate a new joint

10      collective bargaining agreement where neither party gave up

11      its claims as to whether this was 1F or from the union's

12      point of view Section 6.     We wanted to make progress while

13      that other issue was being decided and not waste time.

14            Q.   Okay, thanks.    And in terms of that, you talked

15      about three separate -- I think you called it tranches, but

16      three separate periods for which the parties would try to

17      fulfill that?

18            A.   Right, three tranches.     And we had identified

19      specific articles of the agreement starting from what both

20      sides believed to be the easier ones to reach agreement on.

21      Some in fact had already been TA'd or agreed.        And then

22      moving through a second and third, building on goodwill and

23      trust that we hoped to be generated during the process so we

24      could reach agreement on the earlier articles.

25            Q.   The one thing you didn't discuss I think was
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1       scope.     Scope is a -- you know what scope is, it's job

2       preservation, it's all things ensuring that our pilots do

3       their work and it's not subcontracted out, things like that,

4       correct?

5             A.    I understand scope.

6             Q.    And you understand that scope has been a critical

7       issue for the Atlas pilots from the very beginning of this

8       process?

9             A.    Well, I understand scope's important to both of

10      us.

11            Q.    And you understand that scope is actually so

12      important that it's supposed to be handled on, if you will,

13      a parallel track at the same time that the period one and

14      period two processes were being completed?

15            A.    So our interest has been moving forward to get to

16      a collective bargaining agreement.       We know that scope is of

17      great concern for both.     We understand based on what I've

18      heard from the union that the union was unhappy with the

19      scope determination that the arbitrator provided in the 2011

20      contract.    In good faith, we've offered to negotiate scope

21      separately so that scope discussions could go on while the

22      other sections of the collective bargaining agreement could

23      be agreed to.

24            Q.    But you also know that the union had made an

25      information request almost 60 days ago for information so
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1       that the union and the company could actually sit down and

2       negotiate out a scope provision, don't you?

3             A.   Well, I do, I reviewed the document.

4             Q.   And we as the union provided an information

5       request, and we still haven't received a shred of

6       information back, isn't that you true?

7             A.   I don't know if it's true or not because I'm not

8       monitoring that.    I have reviewed the agreement, some of the

9       items that were requested in that agreement seemed proper

10      and made sense to us.     Some didn't.    I have to tell you I'm

11      not specifically advised as to that information request and

12      what's being provided.

13            Q.   The U.S. military, you said you've talked to

14      concerned family members of servicemen whose flights are

15      delayed coming home?

16            A.   Yes.

17            Q.   And the U.S. military is -- you have a special

18      place in your heart for that contract, I understand that.

19      And I'm sure you agree that you do indeed treat them very

20      seriously?

21            A.   I treat that very seriously.

22            Q.   And you take that commitment to our troops very,

23      very seriously as well, both personally as well as

24      institutionally for your company, correct?

25            A.   As I'm sure everyone in the courtroom does.
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1             Q.   I'm sure you're right.     And so you also just

2       mentioned that we've had a few tentative agreements reached

3       at the bargaining table in this voluntary framework

4       negotiation.

5                  You know the collective bargaining agreement has

6       various provisions that deals with leaves of absence for

7       pilots, correct?

8             A.   Yes.

9             Q.   It has leaves of absence like for bereavement

10      leave, things like that?

11            A.   Yes.

12            Q.   Sick leave?

13            A.   Yes.

14            Q.   Okay.   And also military service, correct?

15            A.   Yes.

16            Q.   In August of this year, August 8th, the company

17      proposed to amend the -- or create a contract here actually

18      where it would:    "Retain", it says, "and continue to

19      longevity, but that nothing would prevent the company from

20      intervening with the appropriate military or draft board

21      authorities to seek a deferment of military service."

22                 Did you know that your company made that proposal

23      to the union on August 8th of this year?

24                 THE COURT:    The witness is welcome to answer.      I'm

25      not really following what relevance this has.        I understand
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1       this may be relevant to your ongoing negotiations.         I don't

2       really see what it has to do with this case.

3                   MR. GLEASON:   It has a lot to do with it, because

4       we're being -- look, we're being told and accused that we're

5       disrupting military operations, that we're actually putting

6       lives at risk.    And I've got a company that's not even

7       allowing our pilots to serve in the military.        That's

8       ridiculous.

9                   THE COURT:   Are you making an unclean hands

10      argument?    I'm just not sure I follow --

11                  MR. GLEASON:   I think it goes to impeachment quite

12      frankly, I truly do.

13                  THE COURT:   Well, you're welcome to ask the

14      questions.    As I said, I'm not sure I follow the relevance,

15      but you can ask the questions and you can argue it later.

16      BY MR. GLEASON:

17            Q.    So you treat the military with such a level of

18      importance that you proposed as company to the union that

19      you would have the right -- or you would seek to intervene

20      with the appropriate military or draft board authorities to

21      seek a deferment of military service by our pilots to serve

22      in the military, to go into battle?

23            A.    So I'm not familiar with the detail of each and

24      every proposition or position that we've passed across the

25      table in these bargaining sessions.       I'm not.   That's not
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1       where I work.    If you're asking me to comment on that, I can

2       only tell you we've been having discussions with the U.S.

3       military where they have concerns about overall military

4       readiness.

5                   We serve in the CRAF, Civil Reserve Air Fleet.

6       The military's concerned that in a conflict, will they have

7       sufficient lift.    The military also knows that we, and every

8       other carrier in CRAF, indeed have pilots working for us

9       that also serve in the Reserve and in the National Guard.

10      The Reserve and National Guard provide a lot of their

11      mobility.    So we've had discussions about where that pilot

12      might best serve.

13                  And this is general, we're not having a discussion

14      about a collective bargaining agreement.       We're having a

15      30,000 kind of foot discussion about deployment of Reserve

16      and National Guard people if and when there's a military

17      call up.    Now, I'm not drawing a line of sight between that

18      and this proposal.     But you're asking me what I know, that's

19      what I know.

20            Q.    You also know that a great number of your pilots

21      and historically throughout Atlas' existence indeed are ex

22      military, correct?

23            A.    Oh, yes, they are.

24            Q.    And you have a number today who are ex military?

25            A.    Yes, we do.
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1             Q.   And they're very proud of their military service

2       as well, aren't they?     You know that.

3             A.   Yes, and I honor them for that service.

4             Q.   Indeed.    And can you imagine, do you understand

5       when you accuse our pilots of disrupting military

6       operations, do you think that would make them angry and

7       upset with you to make such an accusation against them?

8             A.   I imagine it would, and it's not a comment that I

9       make lightly just like I had no interest in suing the union.

10      It's not I --

11            Q.   That's why --

12            A.   -- it's the company.

13            Q.   -- you sent letters to the --

14            A.   Pardon me?

15            Q.   That's why you sent letters home to every pilot --

16                 MR. SIEGEL:    I'm sorry, your Honor, but the

17      witness was in the middle of an answer and Mr. Gleason is

18      speaking over him.     I would ask that the witness be allowed

19      to finish his answer.

20                 THE WITNESS:    We communicated to the families of

21      everyone that was affected.      When the particular flight I

22      think you're referencing which is the flight carrying

23      National Guardsmen from South Carolina arrived in Texas, we

24      went out to meet the plane to apologize for the delays, to

25      give them a letter explaining what we believed happened.
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1       And to also provide them at our expense, under no

2       contractual requirement, monetary compensation.        It's never

3       enough, it wasn't going to address their anxiety or the

4       disruption to their lives.      But it was something we felt we

5       needed to do.

6       BY MR. GLEASON:

7             Q.   And blaming the pilots for service disruption?

8             A.   The letter doesn't blame people, the letter

9       explains that we had a situation.       I referred to Dr. Lee's

10      presentation, and when you looked at the analysis that he

11      presents and the information that he presents, the military

12      flights are among the most, if not the most, disrupted

13      flights during this operational slowdown, during this

14      concerted action.

15                 THE COURT:    Do you have an exhibit number, is the

16      letter in evidence?

17                 MR. GLEASON:    No, it's not even -- the letter he's

18      referring to, I believe he's referring to is one to

19      customers.

20                 THE COURT:    I thought you brought up a letter, you

21      brought up a letter.

22                 MR. GLEASON:    The one I brought up actually dealt

23      with a problem with -- from Sidney going up into Asia, it

24      involves the Baranko declaration.       And it caused a delay of

25      a flight coming from Asia I think back into -- I believe it
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1       was Narita back into North America through Anchorage.           But

2       there are two examples within the declarations where one of

3       them was I believe a military flight.       That may have been

4       the April 23rd, April 24th.      It would therefore either be

5       Captain Lennox or Captain Nolting.

6                  THE COURT:    And was the letter attached to the

7       declaration?

8                  MR. GLEASON:    Only in a heavily redacted form, and

9       it doesn't say that at all.      I admit this is the first time

10      I've ever heard that there's a letter to the customers

11      referencing Dr. Lee's report.

12                 THE COURT:    What I'm more interested in is you've

13      indicated there is a letter that blamed the pilots that was

14      provided to the members of the Armed Services who were

15      affected or their families.      I'm curious --

16                 MR. GLEASON:    Well, actually where that started

17      from was with the front line service employees of Atlas

18      telling the service members that the reason for mechanical

19      delays and for the disruption of getting home was because it

20      was the pilots.

21                 THE COURT:    But is there a letter that says that

22      or there was just a conversation?

23                 MR. GLEASON:    That was a conversation.     Then I

24      asked in terms -- Mr. Flynn referenced a letter to the

25      customers, and I said does that blame -- a letter that's not
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1       in the record I'm asking, and you blame the pilots, and

2       apparently he referenced Dr. Lee's report.

3                  THE WITNESS:    No, I said two things.     I referenced

4       a letter which was a letter of apology to each crew member

5       that came off of that flight, the same flight that we're

6       talking about, expressing our regret at their long delay.

7       We didn't discuss causation or attribute causation to

8       anyone.   We expressed our concern and regret to the harm and

9       anxiety caused to their families.       And we provided them --

10      we offered them $500 compensation plus to cover any

11      additional expenses.

12                 MR. GLEASON:    And the letter that Mr. Flynn's

13      referring to is not in the record.

14                 THE COURT:    Okay.

15                 MR. GLEASON:    I have no further questions.

16                 THE COURT:    Any redirect?

17                 MR. SIEGEL:    No redirect.

18                 THE COURT:    Any further witnesses?

19                 MR. SIEGEL:    No, this completes our case in chief.

20      These are the three witnesses we're presenting.

21                 THE COURT:    Okay, thank you.    Mr. Gleason, do you

22      want to call your first witness.

23                 MR. SIEGEL:    May I, your Honor, just one

24      procedural point since we're resting our case.        In terms of

25      the exhibits that have been presented, I spoke to
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1       Mr. Gleason.    And if it pleases the Court, we would at the

2       conclusion of the hearing today jointly I guess move all the

3       exhibits into the record if that's necessary in the format

4       of this case.

5                  THE COURT:    Yeah, I think it would be helpful.

6       I'm not sure whether it's necessary or not given it's a

7       preliminary injunction, but I think it would be helpful to

8       do that.

9                  MR. SIEGEL:    Just one procedural point, the

10      defendants sent us just before court started one additional

11      exhibit we had not seen which was a chart from their expert,

12      Mr. Akins.    We don't object to it, but we also have two

13      additional charts from Dr. Lee that we have provided to the

14      defendants.

15                 I don't know whether Dr. Lee's going to have time

16      to be able to reappear, but I'd like to have the two

17      exhibits that we've -- we've provided to defendants right

18      before we started court, they provided theirs to us just

19      before we started court.     So we're about equal.

20                 THE COURT:    If it's without objection, I will

21      accept them.    If there's an objection, let's talk about it

22      later.

23                 MR. GLEASON:    Yeah, so with that, I literally

24      walked into the courtroom and I had not seen that yet.          We

25      provided our slides to them, you know, this morning no
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1       question.    I'm not sure I'm going to object, I just haven't

2       literally --

3                   THE COURT:    Let's not eat up time with this, I'll

4       let you talk about it separately.

5                   MR. SIEGEL:    I didn't want to close the case

6       without raising the issue to the Court.       Thank you.

7                   MR. GLEASON:    I know at the end of the day we're

8       going to have to deal with admission of stuff.        If I heard

9       you correctly yesterday, we would do that at the close of

10      the evidentiary aspects of the hearing.

11                  THE COURT:    Yes.   And as I said, I have to break a

12      few minutes before 4:30 today.      I'm happy to take evidence

13      up until then.    And if we have to come back to resolve some

14      of these other issues, let's do that separately off line so

15      that we're not eating into your presentation in the case.

16                  MR. GLEASON:    Thank you.   We call as our first

17      witness Captain Kirchner, Robert Kirchner.

18                  THE COURT:    Mr. Flynn, it goes without saying you

19      are excused as a witness, so thank you.

20                  DEPUTY CLERK:   Please raise your right hand.       Do

21      you solemnly swear or affirm under the penalties of perjury

22      that the testimony you are about to give will be the truth,

23      the whole truth and nothing but the truth, so help you God?

24                  THE WITNESS:    I do.

25                  DEPUTY CLERK:   Thank you.    You may be seated.
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1              DIRECT EXAMINATION OF DEFENDANTS' WITNESS

2              ROBERT KIRCHNER

3       BY MR. GLEASON:

4              Q.   Could you state your name, please.

5              A.   Robert John Kirchner.

6              Q.   And what do you do?

7              A.   I'm a Captain for Atlas Air, and I'm the executive

8       counsel chairman for the Atlas pilots under the Teamsters.

9              Q.   How long have you worked for Atlas Air as it

10      exists today?

11             A.   Almost 18 years.

12             Q.   Have you worked for Polar as well?

13             A.   Yes, I started out at Polar which Atlas acquired.

14             Q.   Okay.   And Captain, what type of airplanes do you

15      fly?

16             A.   I fly the 747-400 and the 747-8.

17             Q.   Do you know what a check airman is?

18             A.   Yes, I do.

19             Q.   Have you ever served as a check airman?

20             A.   Yes, I served as a check airman for approximately

21      11 years if I recall.

22             Q.   And in fact what is a check airman?

23             A.   A check airman is an instructor pilot.      I served

24      in a line capacity, and what would happened is the pilots

25      would come from the training center out to the line.            And we
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1       would actually teach them the airplane after they came out

2       of the simulator.     So it was actually live flying with

3       students.    I also did check rides with captains and special

4       check rides when those were needed by the training

5       department.

6             Q.    So as a check airman, is that a position where the

7       company appoints you as the check airman?

8             A.    Yes, they ask you to serve.

9             Q.    You also said -- moving on to your other world,

10      you said you're the executive council chairman of the Atlas

11      Air pilots?

12            A.    Yes, I was elected in 2014 to serve the 2015 to

13      2017 term as executive council chairman for Atlas.

14            Q.    Very briefly, what are your responsibilities as

15      the executive council chairman of the Atlas pilots?

16            A.    I'm supposed to run the union with respect to the

17      Atlas pilots, to enforce the contracts and run the many

18      committees that are comprised there.

19            Q.    Captain Kirchner, you've given a declaration in

20      this case?

21            A.    Yes, sir, I have.

22            Q.    And that's -- if you have the books in front of

23      you, union books, I believe that's Union Exhibit 2.

24                  Do you have it?

25            A.    Union Exhibit 2, yes, I have it now.
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1             Q.   Okay.   That's the declaration of Robert Kirchner.

2       That's you, right?

3             A.   Yes.

4             Q.   Okay.   Before we move on, could you flip

5       through -- this is a 36-page declaration.        Can you turn to

6       page 26 of 36 of that declaration.

7             A.   Give me a minute.

8             Q.   There is a sentence down there at the very bottom

9       that states:    "Contrary to the claims set forth in the

10      complaint, pilots do have the carte blanch discretion to

11      block out early."

12                 Is that accurate?

13            A.   No, I meant to say do not.

14            Q.   The statements contained in this declaration, do

15      you adopt and affirm this declaration as part of your

16      testimony today?

17            A.   Yes, I do.

18            Q.   We've had discussions throughout these last few

19      days about a meeting that you had with Captain Carlson where

20      if you heard yesterday Captain Carlson said he understood

21      you ran on a platform for exco chairman in 2014 of contract

22      compliance.

23                 First of all, why was this -- what was the reason

24      why that was an item for your platform?       Why was it so

25      important to have contract compliance that it became an item
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1       of your campaign?

2             A.    As we -- I was out of office for three years and

3       out there on the line, and I listened to the complaints,

4       basically the priorities of the crew members.        And I

5       identified this as the prime area that they wanted to --

6       that was important to them.      And thus --

7             Q.    I'm sorry to interrupt you, but was there an issue

8       from the pilots or a frustration level concerning

9       noncompliance with the collective agreement?

10            A.    Extremely high with noncompliance and with crew

11      members who were taking advantage of the system, if you

12      will, through special deals and different things like that.

13      So there was frustration internally also.

14            Q.    So taking advantage -- crew members taking

15      advantage, what do you mean by that?

16            A.    Well, they would find ways to circumvent the

17      contract.    A lot of what the contract is based on is

18      seniority.    And it provides an order for quality of life

19      issues, payment issues, upgrades, et cetera, et cetera.         And

20      there were different areas of the contract where pilots were

21      taking advantage to increase their monetary gain or to

22      better their quality of life out of seniority.

23            Q.    Were they doing that unilaterally or in

24      coordination or conjunction with management officials?

25            A.    We found some instances where management officials
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1       helped them in different positions.

2              Q.   You met with Captain Carlson in the fall of 2014

3       before you were elected as exco chairman, and Captain

4       Carlson discussed that issue in his own testimony where the

5       issue of contract compliance came up.

6                   Can you explain to us very briefly about that

7       discussion that you had with him?

8              A.   Well, we've known each other for many, many years

9       and he invited me to have dinner with him over in Crystal

10      City.   I guess he was passing through or had business in

11      D.C.    And so we met there for -- at Legal Seafoods for about

12      four hours.    Since I was running for office, he wanted to

13      know what my position was and how we could work better

14      together.    That seemed to be his motivation.

15             Q.   And at that meeting, did you discuss the actual --

16      your expectations and the actual concept of strict

17      compliance?

18             A.   Yes, we did.

19             Q.   Tell me about that part of the conversation,

20      please.

21             A.   Well, I explained to him a frustration that I was

22      seeing out on the line, and I told him that I felt that the

23      company was playing fairly loose with the contract and was

24      not abiding by it.     And that I thought in order to have a --

25      he asked me what we need to do to have a good relationship,
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1       and I told him it would be simple:       The company would have

2       to strictly abide by the CBA, by the contract.

3             Q.   Can you --

4             A.   Sorry for my voice, I have a little bit of this

5       cold I'm getting over.

6             Q.   Can you turn to page 13 of your declaration, and

7       in particular pay attention with numbered paragraph 21.

8             A.   Yes, sir, I'm there.

9             Q.   It says:    "The bargaining relationship between the

10      parties since the imposition of the SBCA in 2011 has been

11      one in which Atlas incessantly ignores, bends and even

12      violates the SBCA whenever it considers that it is in its

13      interests to do so."

14                 Can you elaborate on that?

15            A.   Well, we saw just a general lack of discipline and

16      adherence to different areas of the contract.        Open time was

17      a big, big problem and continues to be one to this day.         We

18      saw scheduling problems, rest problems, grievances that were

19      just unsettled.    It just ran the gamut.     And so Captain

20      Carlson and I spent quite a bit of time talking about that.

21            Q.   At the dinner in Legal Seafoods?

22            A.   Yes.

23            Q.   So if you turn to paragraph 22 and actually --

24      onto the next page, page 14 of 36 of your declaration.          Is

25      that what you're talking about when you talk about strict
     Case 1:17-cv-01953-RDM Document 55 Filed 11/16/17 Page 52 of 224
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1       contract compliance by both sides?

2             A.   Yes, correct.    This was a two-pronged thing.       So

3       while the company wasn't I felt abiding -- and most of the

4       crew members felt, abiding by the CBA in the fashion they

5       should, we also had crew members that considered for example

6       that the contract was only there on certain occasions and

7       certain instances.     And so we wanted to -- I made it very

8       clear to him that the union had some work to do internally

9       also with our own people and getting them in line to abide

10      by this contract.

11            Q.   What was Captain Carlson's response to you?

12            A.   I don't remember his exact words, but it was

13      something like:    "That shouldn't be a problem."

14            Q.   And you were elected of course in the fall of

15      2014.   When did your term of office as executive council

16      chairman actually begin?

17            A.   It began January 1st of 2015.

18            Q.   Between that period of time from your election and

19      actually formally taking office, did you have any meetings

20      with any of the Atlas management officials?

21            A.   Captain Carlson and I met I believe in that was

22      December of 2014 before I came into office.

23            Q.   Did you have any meetings with any other -- in New

24      York with management officials, executives?

25            A.   Yes, I met with Captain Wells who's the president
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1       of Local 1224 who I report to, invited me to a meeting with

2       outgoing executive council chairman Captain Ulrich.         And the

3       three of us -- he arranged a meeting with Mr. Flynn and

4       Mr. Dietrich in Mr. Flynn's office in Purchase, New York.

5             Q.    And what did you discuss?

6             A.    Well, we discussed -- it was a pretty informal

7       discussion.    We discussed the outgoing events.      You know, we

8       talked about what life was going to be about in the future

9       and how we wanted to have a relationship and so on and so

10      forth.

11            Q.    Just give me one second, I'm going to ask you to

12      flip to it.    Could you turn your attention, please, to

13      Plaintiffs' Exhibit -- volume three, Plaintiffs'

14      Exhibit 127, please, Mr. Kirchner.

15            A.    I'm sorry, which page?

16            Q.    It's the plaintiffs' binder, volume three.          Turn

17      please to Exhibit No. 127.      It's PX-127.001 on the very

18      bottom.

19            A.    I'm there.

20            Q.    Do you recognize this document?

21            A.    Yes, I do, I typed it out myself.

22            Q.    What is this document?

23            A.    I was concerned with the industry and the lack of

24      what I thought and what I had heard about a looming pilot

25      shortage.    And I thought it was going to start affecting
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1       Atlas pretty quickly, so I wanted to make a proposal to

2       upper management for some steps we could take because our

3       contract was so far below everybody else that I felt we

4       needed to take steps to mitigate that and to keep people

5       here.

6                  The kind of flying we do in these large airplanes

7       through many time zones and very complex airports, some of

8       the places we go into in Africa are extremely challenging.

9       And the experience level is a huge, huge thing that Atlas

10      Air needs and that we needed.      So I wanted to present a

11      proposal for consideration to Mr. Flynn and Mr. Dietrich to

12      help mitigate the loss of experienced pilots.

13            Q.   You said just a second ago that you thought that

14      Atlas was going to be affected pretty quickly.        What did you

15      mean when you said that?

16            A.   Well, I was watching the trends in the industry

17      and listening to colleagues and all sorts of different

18      sources.   And I felt that with the large gap in compensation

19      and retirement -- in all the areas between this low level

20      Atlas contract, it was going to great a great exodus from

21      the airline.

22            Q.   Did you give this proposal to Atlas management at

23      that meeting?

24            A.   I did.

25            Q.   In giving this to them, were you also proposing to
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                                                                         55

1       go commence early negotiations to amend the collective

2       bargaining agreement?

3             A.    No, these were just bullet points for discussion.

4       I like to think of myself as a problem solver, and this was

5       an attempt to cut things off -- or to mitigate a looming

6       problem, why wait.

7             Q.    And what did -- after you gave this one page

8       document proposal to the management of Atlas, what happened?

9       Did they respond to you?

10            A.    Well, Mr. Flynn seemed to take it under

11      consideration, but I don't think he made a comment one way

12      or the other.    Mr. Dietrich took it as a contract opener and

13      became -- he didn't like it, let's put it that way.

14            Q.    Did you tell him that it wasn't intended to be a

15      contract early opener?

16            A.    Yes, sir, I corrected him and I referred him to

17      the title.    And I said that's what it is several times, and

18      he kept insisting that it was a contract opener.

19            Q.    Did they actually sit down and try to work with

20      you or your colleagues at the union to try to resolve some

21      of the items and issues that you had raised in that

22      proposal?

23            A.    Not at that meeting.    They took it and they kept

24      the very rudimentary sheets.      And that's all it was intended

25      to do at that meeting was for them to consider it.
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1             Q.   So let's --

2             A.   Not in its entirety.     You know, it was presented

3       so that they could accept all or none or whatever.         It was

4       just consideration.

5             Q.   So again, you took office on January 1st, 2015.

6       Could you turn your attention to paragraph 24 of your

7       declaration which again it's at the bottom of page 16 of

8       your declaration of Union Exhibit 2.

9             A.   I'm sorry, what page?

10            Q.   At the bottom of page 16 of your declaration.

11      It's Union Exhibit No. 2.

12            A.   I'm there.

13            Q.   Okay.   I'd like to turn your attention again to

14      paragraph 24, and it follows over into the next page plus.

15      Can you describe for us any concerns or any observations you

16      had going into office in January as to the demographics of

17      the pilot group whom you were representing?

18            A.   I was watching the large influx of new pilots and

19      how the seniority list was changing and becoming bottom

20      heavy if you will.

21            Q.   Did you anticipate that that would continue, that

22      trend would continue of additional new hires coming on?

23            A.   Yes, I did.

24            Q.   And where were those new hires coming from, from

25      what other airlines?
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1             A.   It varied.    Initially they seemed to come from the

2       military and from other cargo carriers.       But fairly quickly

3       we saw a trend where a lot of the pilots were coming from

4       what we call regional carriers.      So they were flying small

5       turbo props and jet airplanes, much smaller obviously than

6       what we fly.

7             Q.   So how much experience were you expecting that

8       those pilots coming from the regionals would have in terms

9       of flying international cargo operations such as Atlas and

10      Polar fly?

11            A.   Well, we knew that the experience level as far as

12      international would drop precipitously, so very little

13      experience.

14            Q.   Did that give you any concerns as a flying pilot

15      yourself for Atlas?

16            A.   It did.    And at this time I was a check airman, so

17      I was dealing with a lot of the new hire pilots.        And I was

18      watching the performance level of these pilots drop.            It

19      became more and more challenging to teach them not because

20      they weren't good aviators, but they didn't have the

21      experience and the work behind them.       I used to tell people

22      it was like it got to the point where it was like taking a

23      high school senior and trying to put them in the graduate

24      program at Harvard or something because there wasn't --

25      you're missing a certain amount of progression.
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1             Q.    Did you anticipate that continuing to be a problem

2       with much less experience on international operations versus

3       the operations that the new hires were coming from?

4             A.    Yes.

5             Q.    The new hire pilots, as a group are they generally

6       younger than the senior pilots that have been there for a

7       while?

8             A.    Yes, they are.

9             Q.    And did you have any concerns or any thoughts

10      going in as to the effectiveness as to the union's

11      communications when you went into office, the communications

12      effectiveness with respect to your pilots?

13            A.    We had a lot of these pilots who had never done

14      international flying, who hadn't done the nighttime flying,

15      hadn't flown the big heavy jets and gone into many of the

16      cities.    They didn't know how the union worked in this

17      regard.    So we had a huge education job in front of us.

18            Q.    Is that education job any more difficult for Atlas

19      pilots than it would be say for a legacy carriers' pilots

20      like United Airlines?

21            A.    It is.   Atlas has one unique item, and that is

22      that our bases -- a lot of time you don't start at our

23      bases.     And we don't have traditional bases like United

24      would have in Chicago or anything like that.        It's very

25      decentralized.     The pilots are gone for long periods of
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1       time.   So you don't have the congregational aspect of it.

2                  In addition, we have something called gateway

3       where the company buys you a ticket to your base.        Most

4       pilots don't live in base, they live wherever they want to.

5       So communication is essential to us because -- and the

6       pilots were demanding more communication because we are so

7       decentralized, it's very, very hard even to get a meeting

8       with many pilots because they're scattered all over.

9             Q.   Did you have any sense or any concern as to the

10      fact of having an influx of new pilots that would continue

11      into the future, of the need to educate them what the

12      contract says and does?

13            A.   Yes, we do, because not only are we teaching them

14      a new contract frankly, but a lot of current pilots didn't

15      know the current contract and that was problematic.         So we

16      needed to have an education campaign top to bottom, but

17      especially with the new ones.

18            Q.   So what did you do given those thoughts and

19      observations you had going into office with respect to

20      implementing communications changes?

21            A.   As I went into office, I had some ideas and things

22      I had learned during the campaign.       And I also asked my

23      communications and some of the people on our executive

24      council to come up with ideas, new ideas.        I'm not -- my

25      generation, I'm not a real big Facebook guy or anything like
     Case 1:17-cv-01953-RDM Document 55 Filed 11/16/17 Page 60 of 224
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1       that.   The new generation, they have all sorts of new ways

2       of communicating and so on and so forth.       So I was pretty

3       confident that I wasn't on the cutting edge of this, so we

4       were eliciting a lot of ideas.

5             Q.    Give me some of the ideas that you developed then

6       in terms of changing the communications strategy?

7             A.    One of the things I liked were during the campaign

8       we ran crew calls which were just live calls where anybody

9       could call in, ask us any questions about our platform or

10      anything, so I like that.      There was the usual media

11      campaigns that we run with messages that go through the

12      local and are sent out to our membership by e-mail, not very

13      often printed.

14                  We had some people in communications develop

15      Facebook.    They developed something called the ATAM which

16      was the Atlas Action Teamsters Action.

17            Q.    Can you stop there.    What is the ATAM again?

18            A.    It was the Atlas Teamsters action message.          It was

19      a broadcast that was developed by Captain Mike Griffith who

20      was the head of the communications committee.

21            Q.    And how does the ATAM communications aspect, how

22      does that fit into your overrule approach or strategy to

23      provide more communications and educational communications

24      to your pilots?

25            A.    Well, to be honest, it started out with me giving
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1       a speech, and I didn't like it and Captain Griffith didn't

2       like it.   So we shelved that.

3             Q.   So that speech, could you turn to -- I believe

4       it's in the plaintiffs' binder book, the third one.         It's

5       Plaintiffs' Exhibit 137.

6             A.   137?

7             Q.   Yes.

8                  MR. GLEASON:    Your Honor, is it okay if I kind of

9       move around a little bit, I won't get too close?

10                 THE COURT:    Yeah.

11      BY MR. GLEASON:

12            Q.   Do you have that in front of you which is

13      Plaintiffs' Exhibit 137?

14            A.   I do.

15            Q.   This is a transcript that the company has put into

16      the record of that ATAM.     Do you recognize this -- if you

17      read this as the inaugural ATAM communication?

18            A.   Yes, I do.

19            Q.   On page three, if you look at the way it's

20      blocked, it's got four blocks on that page.        So it's the top

21      right corner, it will say page three.       And on the -- for the

22      record it's PX-137.001.

23            A.   Yes.

24            Q.   And it says -- mentions your name and then it

25      starts:    "Hello everyone, this is Bob Kirchner."      Do you see
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1       that?

2             A.   Yes, I do.

3             Q.   Okay.   Is this effectively what you told the

4       pilots in that ATAM communication of January 15th, 2015?

5             A.   Yes, I assume so.     It looks right.

6             Q.   So look at line 20 on that page three of the

7       transcript.    It says:   "Enforcing the CBA."

8                  Do you see that?

9             A.   Yes.

10            Q.   It says:    "Enforcing the CBA is the path to

11      getting us what we need."

12                 Can you just continue for me, tell me how that --

13      all the way through here?

14            A.   "We are looking initially for every pilot to

15      dedicate themselves to enforce and to be asking yourself" --

16      no, I'm sorry, I went the wrong way.       "To enforce and to be

17      guardians of our CBA."

18            Q.   And then do you see where the next paragraph, it

19      says, "Our new structure"?

20            A.   "Our new structure is geared towards focusing and

21      streamlining all of our resources to be most effective in

22      defending the CBA, in attacking the abuses being heaped on

23      us by the company."

24            Q.   So what's the reason -- why are you communicating

25      this to your pilot members?
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1             A.   We're setting the stage for contract enforcement.

2       We're putting -- our pilots, we're informing them that we're

3       actually going forward and implementing what they wanted us

4       to do during the election.

5             Q.   So maybe now is the time to get into contract

6       enforcement.    So can you tell me what is behind this?         Is

7       this just -- is there a difference between contract

8       enforcement versus trying to leverage a company into --

9       during contract negotiations?

10            A.   I view this as my job.

11            Q.   Explain that.

12            A.   To get this in line and to basically have

13      everybody abide -- the company and the pilots, by the

14      contract which seemed to be a pretty easy task.        It's not a

15      very strict contract, it's pretty liberal, free flowing,

16      there's a lot of flexibility.      I thought it would be pretty

17      easy to get everybody to abide by this contract.

18            Q.   You also referenced streamlining:       "Our structure

19      is geared towards focusing and streamlining all our reserves

20      to be most effective in defending the CBA and attacking the

21      abuses being put on it by the company."

22                 What did you mean by that?

23            A.   I was concerned and the crew members were

24      concerned about open time.      They were concerned about

25      scheduling abuses.     They were concerned about rest
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1       violations.    I could go on and on, but it was a lot.          And

2       that's --

3             Q.    Tell me just about the open time issue.      How did

4       that play out?    What was the issue there with open time?

5             A.    That's been a perpetual struggle.      One of the big

6       problems we've had with open time is that it's a seniority

7       based system.    The company identifies where their needs are,

8       and then the pilots are supposed to bid by position and

9       status and seniority for these trips.       Some are better trips

10      than others, some pay more money.       But it's all supposed to

11      be put out and bid on by seniority.

12                  And what we had found and what I had seen before I

13      even took office were special deals being cut, pizzas being

14      bought for schedulers to get preferential treatment.            I had

15      been shown communications on private cellphones between

16      schedulers and pilots.     And it was just a mess.     And there

17      were a lot of complaints, a lot of pilots were -- it was

18      creating great division and great animosity within the pilot

19      group.

20            Q.    On the bottom of that Plaintiffs' Exhibit 137 --

21      still PX-137.001, on the very bottom paragraph on -- it's on

22      line 19 of the transcript itself, it says:        "We will be

23      leading you over the next three years."

24                  Do you see that?

25            A.    Yes, I do.
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1              Q.   And it continues, it says:     "We will be leading

2       you over the next three years in a completely new direction.

3       All of us will need to band together."       And it continues

4       onto the next page:     "Each and every one of you will be

5       improving your quality of life.      We will give you the tools

6       to fight back."

7                   What did you mean by that?

8              A.   What I meant was that I wanted everybody to

9       change.     I wanted everybody to band together and abide by

10      this contract.    And that the union was going to stand behind

11      everybody as they enforced the contract with the company.

12             Q.   You mentioned a little while ago that you weren't

13      particularly happy with the inaugural ATAM of January 15th.

14      What did you -- what weren't you happy about?

15             A.   I didn't like my voice, I didn't like the way it

16      sounded on the first one.      And I thought it was dull and

17      dry.   And I thought people would -- our pilots would not

18      listen to it because it was too dry.       And Captain Griffith

19      agreed with me.

20             Q.   So what did you do in response then?

21             A.   Well, we started to change it around and try

22      different things.     Captain Griffith did most of the work to

23      be honest with you.     But we tried to give it a little zip if

24      you will and be entertaining so that people would pay

25      attention to it.
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1             Q.    When you say entertaining, what do you mean?

2             A.    Well, he developed certain fictional characters

3       and put some sarcasm, some humor into it and some music to

4       it which was very creative music.       It started to develop

5       from there.

6             Q.    Was there -- did it still retain an educational

7       component to it?

8             A.    It did.   They had a section in there that was part

9       of several chairman's messages.      He had an educational piece

10      to it, and stories from the line of actual events that had

11      happened.

12            Q.    How frequently is the ATAM reported and published?

13            A.    It is published every payday.     Captain Griffith

14      wanted the crew members to be able to rely and count on it

15      and to have a natural marker.      And so payday became -- you

16      know, everybody knows when payday is, so he tied the ATAM to

17      payday.

18            Q.    Can you tell us what crew calls are with respect

19      to your pilots, the Atlas pilots?

20            A.    Crew calls are -- we had a big discussion

21      internally, big argument about this.       Because a lot of the

22      people in the leadership wanted me or some of us to give a

23      speech or direction or something like that through the crew

24      call.   But I was adamant that this was the crew's call, and

25      that it be completely unstructured; that there be no rules
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1       other than decency rules and things like that.        But it was

2       meant to have an hour and a half -- and it is to this day,

3       an hour and a half of questions.      And it was a chance for

4       the crew members to get information, to squash rumors.          And

5       I wanted to hear from them.

6                  I ran on the platform that I report to them, that

7       they're my boss.    And we still -- I still insist that

8       everybody adhere to -- I know a lot of companies and places

9       do that, but we really feel that our crew members are the

10      boss.   This was their hour and a half to do anything they

11      wanted, to ask any questions.      They're very free flowing.

12                 Your question also asked how often did they occur.

13      They usually occur when my schedule and Captain Griffith's

14      schedule allowed.     I'm frustrated that we didn't do more of

15      them, but scheduling usually became difficult.        So they're

16      at random.

17            Q.   To be clear, these are live calls?

18            A.   They're live, yes.

19            Q.   I also just want to understand, do you know in

20      advance what the questions are going to be coming at you

21      from the pilots who call in?

22            A.   90 percent of them we don't.      I don't see this,

23      but there are questions I understand that come in via e-mail

24      or Facebook that the moderators read.       But most of it is

25      live on the spot.
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1             Q.   Okay.   When they come in, those messages -- or

2       actually the telephone or however they call in, is there any

3       level of frustration you sense from the pilots calling in

4       and asking questions?

5             A.   It's been getting higher and higher as we've gone

6       through the years.

7             Q.   Explain, please, what do you mean?

8             A.   Well, you know, any group you have moderates, you

9       have radicals, you have people who don't care.        And these

10      kind of calls a lot of times attracted some pretty radical

11      views and some wild hypotheticals and so on and so forth.

12      That's kind of what it's there for, it's kind of a pressure

13      relief to allow frustrated crew members to kind of vent.

14                 We try and work our way through those things, and

15      they can get wild at times as you can imagine.        Live -- I

16      don't know what you call it, blog radio or whatever, it can

17      get pretty interesting.

18            Q.   Captain Kirchner, you've been accused of a number

19      of things in this case one of which I believe had to do with

20      scab lists and taking names and numbers if you will by the

21      company.

22                 Can you take a look at Captain Carlson's

23      declaration which is PX -- it's Exhibit 126, and it's

24      PX-126.023.    If you look to the top of that page, you'll see

25      Captain Carlson states that, "At the end of the crew call,
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1       Captain Petersen actually addressed the scab list."

2             A.    Yes, I'm there.

3             Q.    And it keeps going and said:     "Instead of

4       fulfilling any of these obligations and directing the pilots

5       to stop activities entirely, Captain Petersen said do not

6       put this kind of stuff on company materials."

7                   Do you see all that?

8             A.    Yes, I do.

9             Q.    And then I see three dots, an ellipses, so it's

10      not a complete quote there, is it?

11            A.    Excuse me, no.

12            Q.    Let me ask you first of all, who is Captain

13      Petersen?

14            A.    Captain Petersen is vice chairman of the executive

15      council.    He's basically my right hand man, elected member.

16            Q.    Did you or Captain Petersen or any of the

17      representatives for the pilot group ever advocate creating

18      scab lists and floating scab lists around?

19            A.    Absolutely not.

20            Q.    For any reason?

21            A.    Absolutely not.    In fact, I was on the road when I

22      got a call from him on this, and he wanted to know if we

23      were going to put out a message.      And I said do it

24      immediately, and the union started putting out messages for

25      people to stop this.
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1             Q.    Do you have Plaintiffs' Exhibit 111 up there with

2       you, Captain?

3             A.    Yes, I do now.

4             Q.    For the record, it starts on PX-111.030.

5             A.    I'm there.

6             Q.    On the bottom of the page it will say PX-111.030.

7       This is a transcript of that May 11th crew call that's

8       referenced in Captain Carlson's supplemental declaration.

9                   Who is Pat, can you tell us?

10            A.    I assume that's Captain Petersen, Patrick

11      Petersen.

12            Q.    Turn the page please.    Go to line nine of the

13      transcript where it says:      "The scab list has been floating

14      around again"?

15            A.    Yes.

16            Q.    What does that say?

17            A.    "The scab list has been floating around again.         We

18      have told you time and time again there is no scab list.           A

19      lot of the names on there are incorrectly put there.            So if

20      you see one, get rid of it.      If you hear of someone that's

21      got one, tell them to get rid of it or have them call me."

22                  Do you want me to continue?

23            Q.    No, hold on one second.     There's been discussion

24      and actually testimony through Captain Carlson in his

25      declaration for sure that you were advocating ostracizing
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1       pilots in your group.     Have used crew calls or ATAM to send

2       a word out to start ostracizing pilots for instance who

3       continued to fly open time?

4             A.    No.

5             Q.    Can you describe -- there's been testimony again

6       through Captain Carlson's declaration about saying not

7       having dinner with pilots.      Can you describe and explain to

8       us what you meant and what actually you said?

9             A.    Yeah, we have a very, very few number of pilots

10      that thumb their nose at the union, that cheat, cut deals.

11      That just creates a lot of animosity with the groups.           We

12      can't always police them, so I was just indicating to the

13      crew members that instead of complaining about these

14      individuals, don't condone their behavior.        Don't go out to

15      dinner with them.     Don't act like everything's okay when

16      it's not.

17            Q.    So if a person takes open time out of seniority,

18      what does that mean and how does it affect the rest of the

19      pilots?

20            A.    Well, it takes money away from the person who

21      rightfully should have gotten it, and it also goes to

22      quality of life issues.

23            Q.    And when that happens, does that upset the pilots

24      where there are instances where the company is assigning

25      pilots out of seniority order on open time?
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1             A.   Yes, very much so.

2             Q.   Have you or Captain Petersen or any of your

3       colleagues who run the crew calls had any questions, field

4       any questions and provide advice concerning catering issues?

5             A.   Yes, catering seems to be a big problem at Atlas.

6             Q.   Captain Petersen's actually been accused of

7       telling the pilots not to fly the planes until they get

8       proper catering.

9                  Can you explain, tell me about these types of

10      issues, the catering issues that have arisen that you can

11      recall from the crew call messages?

12            A.   This is a directive that the system chief pilot --

13            Q.   Who's that?

14            A.   That's Captain Ray DuFour.

15            Q.   Keep going, I'm sorry.

16            A.   He said he was sick and tired of catering issues,

17      and that the only way to fix it was to bring it to a head

18      basically and that no aircraft should move without the

19      proper catering.    He also advised us that if the plane

20      moved, in his interpretation there would be no grievance

21      because the crew was accepting substandard catering.

22            Q.   If I'm on a flight leaving from Asia coming back

23      across the Pacific, how many hours is that?

24            A.   It depends where in Asia, but it's 10, 12 hours.

25      If you go from Seoul to LA, you're talking about 10 and a
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1       half hours.

2             Q.   So if the catering isn't correct and proper when

3       you leave Asia, say Seoul, and you're heading back to North

4       America, what impact does that have on the pilot?

5             A.   Well, it depends on the level of the problem with

6       the catering.     If it's only a quarter of it, it becomes more

7       serious.   Or if it's tainted, we've had instances of raw

8       chicken.   We've had hairs and screws and different things.

9             Q.   Have you had instances of food poisoning involving

10      your pilots?

11            A.   Yes, we have.

12            Q.   As a result of catering?

13            A.   Yes.

14            Q.   And if Chief Pilot Ray DuFour says that he won't

15      accept this as a grievance, what remedy would the pilot have

16      once he does land 10 or 12 hours later to resolve the

17      catering grievance -- or complaint as you've called it?

18            A.   Well, it's too late to tend to his

19      physiological needs, but he would have to file a grievance

20      and document that when he arrived.

21            Q.   File a grievance that would not be treated as a

22      grievance by the company?

23            A.   Well, that was the indication that we got.

24            Q.   Sticking with your ATAMs and your crew calls.

25            A.   Yes.
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1             Q.   Have you or any of your colleagues within the

2       Atlas pilot leadership group ever advocated and instructed,

3       encouraged the pilots -- the Atlas pilots to engage in

4       unlawful, concerted slowdown activity?

5             A.   No.

6             Q.   Is that the purpose of those communication

7       calls -- crew calls and ATAMs?

8             A.   No, it's not.

9             Q.   Have you ever advocated such activities through

10      your chairman's messages that you've provided to the

11      members?

12            A.   No.

13            Q.   Has anyone else from the union leadership for the

14      Atlas pilots or the local union or the international union

15      to your knowledge ever advocated, encouraged the pilots to

16      engage in unlawful concerted slowdown activity?

17            A.   No.

18            Q.   And yet I do see through the transcripts that have

19      been provided and put into the record here, a lot of times

20      there's the use of the word leverage CBA.

21                 Can you explain to us what do you mean when you

22      say leverage the CBA in the context of these crew calls as

23      well as the ATAMs?

24            A.   Well, we're trying to get the crew members to

25      abide by it.
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1             Q.    To abide by what?

2             A.    To abide by the CBA, I'm sorry.      And we feel that

3       if they and the company are allowed to diddle around with

4       the CBA and nobody enforces it, it will disincentivize the

5       company to sit down with us and talk to us.

6             Q.    We've heard also a lot of talk about the word SHOP

7       which we understand the acronym means Stop Helping Out

8       Purchase, is that correct?

9             A.    They came up with an acronym Stop Helping Out

10      Purchase, yes.

11            Q.    How does fit into your communications approach

12      towards the Atlas pilots?

13            A.    Well, we wanted them to stop doing travel's job,

14      doing loading's job.     We wanted them to focus on just doing

15      their job.    Cutting corners on the contract, those sort of

16      things.    So that's where SHOP came from.     It was just do

17      your job.    We had a number of pilots get into trouble

18      attempting to go the extra mile, and it actually backfired

19      and cost the company more money.      And we had some

20      disciplinary problems, so we were trying to keep everybody

21      into their sphere and area of responsibility if you will.

22            Q.    Are you using as the pilot leadership for the

23      Atlas pilots the acronym of SHOP as a code word or a message

24      to the pilots that they should engage in slowdown activity?

25            A.    No.
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1             Q.    I've heard a lot about BOOT.     Tell me about BOOT?

2             A.    Well, BOOT stands for Block Out On Time.       A number

3       of the union -- my union workers came to me and said we're

4       having a huge problem with the company.       We're having a

5       problem with short rest, with people blocking out illegally

6       because our pilots need, sometimes by regulation, sometimes

7       by the contract, a certain amount of rest.        And some of it

8       is legality, some of it is contractual.

9                   And we found that the schedulers were ignoring the

10      flags.     There's a flag that comes up which warns the

11      scheduler that the trip is maybe not legal or not contract

12      compliant.     We didn't feel this was being adhered to.        So in

13      order to protect our pilots, we instituted BOOT so that they

14      would control the departure time and adhere to the

15      regulations.

16                  THE COURT:   I'm sorry, can you explain that to me?

17      I'm not quite sure leaving 10 minutes early would result in

18      a violation of any rule or regulation.

19                  THE WITNESS:   If the flight was running late and

20      you needed your let's say regulation aviation rest period,

21      your mandated rest period.      And you see this quite often at

22      all airlines where they'll delay a flight for a few minutes

23      to comply with this regulation.      If the company or scheduler

24      pushed them to go early, they could be within that legally

25      required rest period.
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1                  THE COURT:    So when they're sitting in the cockpit

2       before the plane leaves, that's part of the rest period?

3                  THE WITNESS:    No, they haven't gotten there yet.

4       So what happens is when they get off duty, under different

5       circumstances they need X amount of rest.        You can call it

6       10 hours, 12 hours, it depends on the situation.        If they

7       get called early or the departure time is moved up, they

8       could be out of compliance.       So if the company wants to move

9       the airplane as quickly as possible, your rest could be down

10      to the minute.    And when you block out is where the legality

11      is measured from.     Am I explaining that correctly?

12                 THE COURT:    That I'm not following now.

13                 THE WITNESS:    If in order to have my legal rest I

14      had to depart at 4:00 in the afternoon, and I depart at

15      3:45, I'm 15 minutes into my legally required rest.

16                 THE COURT:    So it counts towards your rest period

17      until the plane actually starts to depart the gate?

18                 THE WITNESS:    Your Honor, think of it as that's

19      the basis point, the marker is when the aircraft blocks out.

20      Everything in a look back is measured from that period.

21                 THE COURT:    So if you had a period of eight hours

22      of rest and the flight was scheduled to leave at 8:00 p.m.

23      and your rest period started at noon, if the flight left at

24      6:59 you'd be in violation of the rest rule?

25                 THE WITNESS:    Yes.
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1                  THE COURT:    But if it left at 8:00 even though you

2       were sitting in the cockpit getting ready to leave, you'd be

3       okay.   Because while you're sitting there in the cockpit, it

4       counts towards your rest period until the plane starts to

5       actually back away from the gate?

6                  THE WITNESS:    Yes, your Honor, it's all factored

7       into that.

8                  THE COURT:    Is that what the regulation says is

9       that you count the rest period, the rest period ends at the

10      moment you start to back away from the gate?

11                 THE WITNESS:    The rest period -- well, it's when

12      you block out.    When you've blocked out for us is measured

13      when all the doors are closed and the brakes are released.

14                 THE COURT:    So the rest period runs all the way

15      until the moment the brakes are released.

16                 THE WITNESS:    No, there's a pre-duty show time.

17      So at Atlas, we have an hour and a half show time.         So that

18      would come back from the block out for an hour and a half,

19      and then you get the rest period.       So a lot of times in your

20      example, your Honor, you could be in the van during your

21      rest period.    You could be in transit during your rest

22      period.   But once your show time starts, that's where your

23      duty starts.

24                 THE COURT:    And that's measured --

25                 THE WITNESS:    That's measured an hour and a half
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1       from block out.

2                  THE COURT:    Thank you.

3                  MR. GLEASON:    We'll have additional testimony in

4       terms of the details.

5                  THE COURT:    That's helpful, thank you.

6       BY MR. GLEASON:

7             Q.   One thing I did want to ask you with respect to

8       blocking out:     Have you ever been counseled or reprimanded

9       by Atlas or Atlas/Polar management for departing earlier?

10            A.   Yes.   I think I've only been counseled four times

11      in 18 years, and two of them were blocking out early.

12            Q.   I'd like to keep moving along.

13                 THE COURT:    Are you moving to a different subject?

14                 MR. GLEASON:    There's not a whole lot more.

15                 THE COURT:    How much more time do you need?

16                 MR. GLEASON:    Ten minutes.

17                 THE COURT:    Ten minutes, okay.

18      BY MR. GLEASON:

19            Q.   Thank you, and I appreciate for your staff as

20      well.    Maintenance write ups, we've been accused of

21      instructing pilots to write up maintenance items on a list.

22      Tell me, is the union and its leadership, including the

23      Atlas pilot leadership, instructing pilots to write up

24      maintenance items to delay or disrupt the operations for

25      Atlas?
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1             A.    No.

2             Q.    You've heard -- and I think I would agree with

3       this, everyone has -- considers it very important with

4       respect to the operation of -- military operations and our

5       soldiers.

6                   Are you or any of the pilot leadership at Atlas or

7       the union instructing your pilots to the that military

8       operations?

9             A.    Absolutely not.    I was particularly troubled by

10      that reference.     A great deal of my pilots are former

11      military.    They would never tolerate that.      We all consider

12      ourselves patriotic Americans, and I think Mr. Flynn

13      addressed that also.     But nobody would tolerate anything at

14      that level.    And I'll tell ya, when you bring those troops

15      home -- I've flown into Baltimore, and when the USO is there

16      with balloons and people greeting you and you come through

17      these doors in Baltimore, these wonderful USO volunteers

18      thank you for bringing our soldiers home safely, Captain,

19      it's.   A feeling that I can't describe.      So to even

20      engage -- actually I don't want to be argumentative, but to

21      be accused of that is not something that I take lightly.

22            Q.    Do you have any experience yourself flying

23      military flights?

24            A.    I do.

25            Q.    What's been your experience with respect to the
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1       planes themselves, their condition?

2             A.    The planes that the company has are refurbished.

3       A couple of them came from Japan Airlines.        They're really

4       at the end of their useful life.      You can keep these things

5       going, but as they get older and older -- they've been used

6       by Japan Airlines and different airlines.        We have them now.

7       It's just like an old car, you have an old car, you've made

8       your payments and that part is free.

9                   But you're going to put a lot of maintenance -- I

10      have an old car, and I just got hit with a $2,000 bill that

11      hurts.     So you pay.   It's the same thing with these

12      airplanes, they're breaking down quite a bit I was stuck in

13      Haun, Germany for two days waiting for my military flight to

14      come up, and it was down for maintenance.        I had to wait

15      there in Haun, and we were, oh, seven or eight hours late by

16      the time it came out of the Middle East.       I picked it up in

17      Haun, Germany.

18            Q.    About how old -- do you fly 747 aircraft for

19      military operations?

20            A.    Yes, the passenger ones.

21            Q.    How old are they?

22            A.    Between 25 and 27 years old.

23            Q.    Is that considered old for a Boeing 747?

24            A.    Yes, it is.   They measure them in cycles, 40000

25      cycles.    And some of the gouges you read is 25 years is kind
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1       of the target or prognostication for the life of these.          So

2       there's certain countries that will not allow aircraft of

3       this age to transport passengers in and out.        So there's

4       restrictions to them and so on and so forth.        They're old,

5       they require a lot of maintenance and breakdown from time to

6       time.

7             Q.   You mentioned countries you're aware of that

8       wouldn't allow old aircraft to fly into its country?

9             A.   Yes.

10            Q.   Any examples?

11            A.   Saudi Arabia has different restrictions to the

12      age, 20 -- I don't have them in front of me, but 20 years or

13      so.   Indonesia has a 25 year restriction or.       These numbers

14      may be off a year or two because I'm going from memory, but

15      there are restrictions in the --

16            Q.   Do you know --

17            A.   -- age that they'll allow a plane carrying

18      passengers into their country.

19            Q.   In your experience, has Atlas ever gotten a

20      deferment or extension to continue to fly to a country that

21      would otherwise restrict that plane from entering?

22            A.   A couple of years ago to operate the Hajj, I

23      understand they had to get a deferment to do that.

24            Q.   What country are you talking about?

25            A.   It was from Indonesia into Saudi Arabia.
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1              Q.   Number -- we're almost there.     The number of

2       grievances that you and your Atlas pilot leadership group

3       have experienced over the last -- since your term started in

4       '15.   Can you describe the number of grievances, whether

5       they've increased, decreased, what do you see as a trend?

6              A.   They've continually increased.     Part of it is the

7       crew members are understanding how to grieve things, they're

8       learning -- learning to stand up to the contract.        And our

9       initiatives have worked.     It's helping us enforce and get

10      everybody to abide by the contract.

11             Q.   These grievances, would you characterize the

12      grievances that you receive from the pilots members are they

13      frivolous grievances, do they have legitimacy?        How do you

14      measure that?

15             A.   No, we are settling or winning 85 percent of them.

16      Those are approximate numbers.      But a lot of our grievances

17      get settled in what we call step one.       It's a three step

18      process.    The first step, it's usually the system chief

19      pilot will sit down with our union stewards and they'll see

20      if they can work out a deal.      After that, if the company and

21      the union don't agree, it goes to step two and that's

22      Captain Carlson and again our union stewards.        Then after

23      that it would go to arbitration.

24             Q.   Do you see a number of repeat grievances, you

25      know, grievances over the same issue?
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1             A.   Yeah, well, we constantly see open time

2       grievances.    The troubling part is that we see grievances

3       that are supposedly settled with a cease and desist, and as

4       early as the next week the company is violating the cease

5       and desist again.

6             Q.   I want to draw your attention back to your first

7       year in 2015 when -- the first year of your term of exco

8       chairman of the Atlas pilots.      And you've heard Mr. Flynn's

9       testimony about transformational change, you've heard all of

10      that.

11                 In terms of 2015, did you make continued efforts

12      to meet with or try to resolve issues that would affect the

13      scheduling for instance or other items in the contract that

14      would otherwise create just pure conflict in terms of that

15      transformational change that the company is going through?

16            A.   Yes.   Initially we had some pretty good dialogue

17      in February I believe of 2015.      We met with Captain Carlson

18      and system chief pilot Captain DuFour and had a discussion

19      about how they were not going to have the pilots doing

20      everybody else's jobs and that he agreed.        We had the entire

21      executive council with us.      That was a fairly productive

22      meeting.

23                 And then I don't know exactly what month, I think

24      May, we started meeting to resolve issues where there were

25      parts -- there was a part of the contract that I discovered
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1       quite by accident that had not been executed perfectly -- or

2       properly.

3                   So Captain Carlson and I sat down, that gave

4       impetus to working together.      And these were very -- Captain

5       Carlson characterized them as summer rules.        What that meant

6       was there were no lawyers present so we could let our hair

7       down a little bit and nobody was going to be held to any

8       words and so on and so forth.

9                   And we moved through that, we cleared up the

10      management flying LOA and of course the management LOA.          And

11      we developed in great cooperation what's called the vacation

12      slide or MOU or the vacation MOU.       What that did was we had

13      a problem where many of our crew members were -- had to

14      travel on their vacation days.      And we wanted to preserve

15      the seven or so or 14 days so vacation, true vacation.          We

16      worked very, very well together through that.        It was a

17      great document.

18                  In fact, the last day when we had just signed it,

19      he told me he had just received a call from Mr. Flynn

20      congratulating him on it and us, and the level and spirit of

21      cooperation of working together.

22            Q.    Did those meetings and the summer meetings or

23      whatever in '15, did they include anything to do with what's

24      called the express LOA?

25            A.    We talked about a variety of things.      Early on
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1       when I came into office and I did an audit of the contract,

2       that's where we found that the management letter that was

3       included there was improperly executed.       But one of the

4       things that I brought up to Captain Carlson was that the

5       contract required the company to inform the union 180 days

6       before they started an express operation.        And I advised him

7       that they had not done that.

8                  And his comment to me was:      "We don't have an

9       express operation, and I haven't declared that we have an

10      express operation."     And I said to him:    "So you haven't

11      said the magic words, is that it?"       And he said:   "We don't

12      have an express operation."      I jokingly said to him:        "Why

13      don't we go to Cincinnati between 11:00 o'clock at night and

14      4:00 in the morning and watch what goes on with all your

15      airplanes and I think you'll see an express operation."           But

16      the long story short is that was never negotiated.

17            Q.   Under the existing scheduling rules, how does that

18      play into the pilots' schedules?

19            A.   It has a huge affect, because the architects of

20      this contract -- and I sat in on many of these meetings, the

21      current contract -- and I believe it was a company proposal.

22      The express LOA dealt with the differences in an express

23      operation versus the traditional leapfrog international

24      flying that Atlas did.     Everybody at the table recognized

25      when this express operation came in, it was going to require
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1       a new set of rules.

2             Q.    Moving on to what I believe is my last topic.

3                   THE COURT:   Last topic, because we've been going

4       quite a while.    If you have more than one minute, I think we

5       should take a break.

6       BY MR. GLEASON:

7             Q.    Captain Welty, who is he?

8             A.    He's the chief pilot.

9             Q.    And Captain Welty, we've heard yesterday in

10      testimony about the sick letter -- the letters about

11      absenteeism in this with respect to two of the pilots.

12      We've also heard testimony about old school or freight dogs.

13                  Is Captain Welty like one of those old freight

14      pilots who believes in running the mission no matter what?

15            A.    That's my impression.

16            Q.    And are there -- we've got about 40 seconds left.

17      So given that, so the senior pilots, those pilots who have

18      been in Atlas for 10 years or more, 20 years even, did they

19      have a mission oriented mind set to fly the mission even if

20      fatigued?

21            A.    Not just them, I'm learning the fatigue rules

22      myself and how to behave correctly.       It's old timers that

23      have a tough time with the new science.

24            Q.    Was there a period of time during which either

25      Atlas or Polar actually had a system of disciplining pilots
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1       involving fatigue issues that you're aware of?

2              A.   I'm not aware of that.

3              Q.   Was there an operation or a mind set to fly even

4       fatigued?

5              A.   Oh, back in the early days we almost all flew

6       fatigued.    Pilots would sleep out of necessity while we

7       flew.

8                   MR. GLEASON:   I have no further questions, thank

9       you.

10                  THE COURT:   Let's return at 10 past 2:00.

11                  MR. GLEASON:   Your Honor, so that you know, I have

12      one witness who will be up there for probably 10 minutes on

13      my side, and I have Mr. Akins who is our economist and I

14      have Captain Wells.

15                  THE COURT:   Okay.   We can talk about that when we

16      come back.    Thank you.

17             (Off the record at 1:20 p.m.)

18             (Back on the record at 2:19 p.m.)

19                  THE COURT:   So I've been looking at my calendar

20      because it's not clear to me we're going to be done in the

21      next two hours.    It's tight.    I am choosing a jury tomorrow

22      in a criminal case and I'm then trying the case next week.

23      I don't know for sure how long the criminal trial will go.

24      Next week, Friday's Veterans Day so the Court is closed that

25      day.    It's possible the trial will be done in three days.
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1                  So one possibility will be that we hold Thursday.

2       We don't know, so we'll have to play that by ear.        The other

3       possibility is that I could make some time the following

4       week which obviously is getting close to the Thanksgiving

5       holiday, make some times next week -- conceivably on

6       Wednesday afternoon and more likely on Thursday afternoon.

7                  So we'll have to give that some more.       I think we

8       should still press forward and do our best to get through it

9       today and see where we are.      Mr. Siegel?

10                 MR. SIEGEL:    May I just be heard on that?

11                 THE COURT:    You may.

12                 MR. SIEGEL:    We spoke at the status conference

13      last Friday, and I used the phrase justice delayed is

14      justice denied when we're seeking a preliminary injunction

15      and we have concerns about the upcoming holiday season.          We

16      would like to do everything possible to stick to the

17      schedule that we talked about last Friday which would be to

18      conclude the hearing today and to ask for some very

19      expedited closing briefs.

20                 I'm willing on behalf of the plaintiffs to do

21      whatever I can to do that including foregoing cross-exam.

22      We have a record in the case from the motion we filed, and

23      we have conviction in that record that we've created.           So if

24      it's going -- and frankly there's been extensive cross-exam

25      by Mr. Gleason of witnesses that has extended the time.
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1                   THE COURT:    I think it's fair to say the blame

2       goes to both sides with respect to the timing.        Your

3       examinations have gone longer than you predicted in the

4       pretrial statement.

5                   MR. SIEGEL:    Okay.   Well, I respect that, your

6       Honor.   I mean, the point being that it's -- we filed a

7       motion for a preliminary injunction in light of what we

8       viewed as a compelling threat.      I mean what I say.

9       Mr. Gleason has said -- I'm sorry, I interrupted you.

10                  THE COURT:    It's all right, go ahead.

11                  MR. SIEGEL:    We can argue the case regarding the

12      bulletins and the communications put out by Captain

13      Kirchner.    I can forgo that.     I'll forgo crossing Mr. Akins,

14      we've had a rebuttal report from our witness.        So I would

15      urge that we ask that the defendants to put the witnesses on

16      promptly and quickly in the timeline we established.            I

17      think that would be consistent with what we discussed at the

18      status conference last Friday.

19                  THE COURT:    Let me hear from Mr. Gleason.

20                  MR. GLEASON:   Your Honor, we're going to do

21      everything that we can to meet the requirements that the

22      Judge -- that you had set in both the original status

23      conference and the pretrial last week.       As you see, we've

24      had to plow a great deal of ground.

25                  THE COURT:    I have to say I don't know that all of
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1       it was necessarily fertile ground, but I understand the

2       point.   I think there's been a fair amount of examination

3       that has gone to issues that at least the relevance has not

4       been apparent to me.

5                  MR. GLEASON:    And we hope to clear some of that it

6       up quite frankly -- and I know they're going to be expedited

7       briefs, but frankly we really felt compelled to make points

8       that we will tie up in our papers.       That said, I don't want

9       to keep running the clock today even, but I will tell you

10      this.    We're going to do everything that we can, but we'll

11      be available at the Court's direction whether it be next

12      Wednesday or Thursday, we're okay with all of that.

13                 THE COURT:    Can you get through your direct

14      examinations in the next two hours?

15                 MR. GLEASON:    I'll do my absolute best.     I

16      can't -- I think I can, I'm going to certainly try.          I can't

17      promise your Honor.     I know you have a 4:30 deadline.        I'm

18      going to move this abbreviated to the extent that I can

19      where I still feel that I -- I have to still make my record,

20      that's all.    So I'm going to move forward.      If there's no

21      cross, then I'm ready to put my next witness on.

22                 THE COURT:    Mr. Siegel, let me ask you:     There's

23      going to be post hearing briefing, and I don't know whether

24      we're going to have time next Thursday.       I suspect there's a

25      chance we'll some have time next Thursday for examinations.
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1       It's not clear to me that needs to hold up post hearing

2       briefing, and that you can be briefing issues with the

3       understanding that there's still another witness I need to

4       hear from, and the parties can explain to me the relevance

5       of that.

6                  MR. SIEGEL:    Your Honor, upon conclusion of the

7       hearing today, I was going to suggest that the briefs be due

8       no later than a week from today which would have been next

9       Thursday so that frankly your Honor could have as much time

10      as possible to review and consider.

11                 The reason I'm raising this is that we created a

12      procedure where all the direct testimony has come in before

13      we started.    The procedure that I think we had anticipated

14      that -- maybe we both as you say expanded on this, was to

15      highlight some of the major points from the declarations.

16      Every one of the witnesses Mr. Gleason wants to put forward

17      this afternoon has filed direct testimony already.         I'll

18      forgo cross-exam, and I think it would be very important to

19      the plaintiffs if we can try to finish the hearing today.

20      And then I would urge very expedited briefs.

21                 THE COURT:    I guess you need to make a decision

22      now about whether you want to forgo your cross-examination.

23      You're welcome to do that.      I cannot, until I know more,

24      guarantee that we'll be done in two hours from right now.         I

25      can hope we will be, but I can't guarantee that.        If you
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1       want to give up the cross, you're welcome to do that.

2                   Otherwise, what I would propose we do is

3       tentatively set aside next Thursday and let you start the

4       briefing.    And maybe you can file your briefs -- I'm sure

5       you're probably going to be working on Friday of next week

6       anyway, you can all file your briefs on Friday of next week

7       and still have at least perhaps a few hours of time to come

8       back Thursday.

9                   If you think it would be helpful for me -- I mean,

10      I want to make sure that the record is one that is helpful

11      to me.   If there's something you want to ask on cross that's

12      going to be helpful me to, I'd just assume you do it.           But

13      if you don't think so and you think the point's already

14      made, that's fine too.

15                  MR. SIEGEL:    We're very comfortable, we have the

16      words of Captain Kirchner in black and white on all the

17      exhibits, and so we'll go to the next witness.        Thank you.

18                  THE COURT:    Let's proceed, we'll call the next

19      witness.

20                  MR. GLEASON:   Just to clear one thing up with

21      respect to the declarations.      As both Mr. Siegel and I have

22      discussed over the course of these last few days, we have

23      one witness that's -- although he's actually filed a fatigue

24      report and his declaration is here, because it's basically

25      doing a surrebuttal at the same time, we have one witness,
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1       Captain Lang, for a very brief period of testimony, probably

2       10 or 15 minutes worth of testimony now.

3                  THE COURT:    I would encourage you to move as

4       quickly as you can with the examinations particularly given

5       the fact that I do have most of this already in direct

6       forum.

7                  MR. GLEASON:    Yes.    We'd call our next witness,

8       once you release Captain Kirchner obviously.

9                  THE COURT:    Captain Kirchner, you're excused.

10      Thank you for appearing.

11                 THE WITNESS:    Thank you.

12                 MR. GLEASON:    We call as our next witness Captain

13      Chris Lang.

14                 DEPUTY CLERK:    Please raise your right hand.       Do

15      you solemnly swear or affirm under the penalties of perjury

16      that the testimony you are about to give will be the truth,

17      the whole truth and nothing but the truth, so help you God?

18                 THE WITNESS:    I do.

19                 DEPUTY CLERK:    Thank you, you may be seated.

20

21            DIRECT EXAMINATION OF DEFENDANTS' WITNESS CHRIS LANG

22      BY MR. GLEASON:

23            Q.   Could you please state your name for the record.

24            A.   My name is Christopher Hendrick Lang.

25            Q.   And what do you do?
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1             A.   I'm a Captain for Atlas Air.      I'm also a ground

2       school instructor.     And for the union, I work on the flight

3       safety ASAP committee.

4             Q.   How long have you worked for Atlas?

5             A.   A little bit over six years.

6             Q.   How long have you been an instructor?

7             A.   I'd have to say for about four years.

8             Q.   What classes do you -- what do you do as an

9       instructor?

10            A.   I teach human factors related classes.       They're

11      recurrent, initial and upgrade classes for our pilot group.

12      They include risk management, crew resource management and

13      other flight safety related topics like the ASAP program and

14      the fatigue program.

15            Q.   Do you teach a class called human factors?

16            A.   Yes, I do.

17            Q.   What is human factors class?

18            A.   It is the human involvement in the aviation world

19      as it pertains to the incidents and accidents that might

20      happen.

21            Q.   Does it include teaching about fatigue risk?

22            A.   That is one of our modules, yes, sir.

23            Q.   Do you teach that at the training facility in

24      person teaching?

25            A.   Yes, I do.
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1             Q.    And does that include for recurrent training?

2             A.    Yes, sir.

3             Q.    So does that mean that therefore that pilots --

4       not just new hires but all pilots go through recurrent

5       training?

6             A.    Every pilot that passes through the training

7       center gets that training, yes, sir.

8             Q.    And have there been any improvements or

9       enhancements to the recurrent training portion of the

10      fatigue risk management component of your human factors

11      class?

12            A.    Yes, sir.   Over the last four years we've

13      constantly developed the program and increased the training

14      on -- the awareness training on fatigue.       Particularly since

15      February of this year, we increased the training quite a

16      bit, both in class and on the computer training modules that

17      we offer.

18            Q.    And that was -- did you discuss the enhancement,

19      improvement of the human factors class as it pertained to

20      fatigue risk back earlier this year with Captain Carlson?

21            A.    It was addressed by Captain Carlson, and then I

22      had a meeting with Captain Agnini to develop the furtherance

23      of the program.

24            Q.    As an instructor and then part of the training

25      curriculum, does Atlas maintain a home study curriculum as
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1       well?

2             A.   Yes, they do.

3             Q.   What is that?

4             A.   It's a home study program that we have to qualify

5       in every four months, it's a quarterly program.

6             Q.   And does it include a human factors and fatigue

7       risk management aspect to it?

8             A.   It does contain a fatigue module, yes, sir.

9             Q.   And how long has that been part of the home study

10      course?

11            A.   It's been in the program at least this year,

12      probably part of last year as well.       I'm not 100 percent

13      sure.

14            Q.   That's when it was first placed into the program?

15            A.   That's correct, yes.

16            Q.   And when -- this is like computer based training

17      at home, how does this home study work?

18            A.   It's a computer based training program that can be

19      done on any computer or on our electronic flight packs, the

20      iPad.

21            Q.   So the pilots are given an iPad, then they

22      download an app and then they take the courses?

23            A.   Yes.

24            Q.   And so that course -- again, just to be clear that

25      home study course, does that include teaching and a
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1       component of the classes is for human -- or just for fatigue

2       risk management?

3              A.   It does have a module on fatigue awareness, yes,

4       sir.

5              Q.   Do you ever attend check airman's meetings?

6              A.   Yes, I do.

7              Q.   Do you recall attending a check airman's meeting

8       earlier this summer?

9              A.   Yes.

10             Q.   And do you recall attending a check airman's

11      meeting where fatigue itself and the fatigue program in

12      place at Atlas was discussed?

13             A.   Yes, it was this August.

14             Q.   This year?

15             A.   August this year, yes, sir.

16             Q.   Can you explain for us what you recall from that

17      meeting?

18             A.   We did address the fatigue issues at Atlas Air.

19      It was brought to our attention or the question was asked to

20      the instructor group who had flown fatigued before.

21             Q.   Who asked the question, I'm sorry to interrupt?

22             A.   Captain Agnini, the program director for the

23      fatigue management program.      He asked the question whether

24      any of the pilots had flown have fatigued.        And he then also

25      asked how many of us had called in fatigued to see the
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1       difference between the two.

2             Q.   And what happened?

3             A.   Well, basically when he asked the question if any

4       of us had flown fatigued, pretty much everybody raised their

5       hand because that is what we tended to do.        And when asked

6       how many had called in fatigued, it was about 40, 50 percent

7       from my estimation.

8             Q.   And Mr. Agnini, did he have any reaction or

9       response to that?

10            A.   Yes, he mentioned that based on the program that

11      we have, he encouraged us to call in fatigued more often; to

12      improve flight safety and not fly when we are fatigued.

13                 MR. GLEASON:    Thank you, Captain.

14                 THE COURT:    Any cross?

15                 MR. SIEGEL:    No cross.

16                 THE COURT:    Thank you, you're excused.     Next

17      witness.

18                 MR. GLEASON:    My next witness is Mr. Dan Akins.

19                 DEPUTY CLERK:    Do you solemnly swear or affirm

20      under the penalties of perjury that the testimony you are

21      about to give will be the truth, the whole truth and nothing

22      but the truth, so help you God?

23                 THE WITNESS:    I do.

24                 DEPUTY CLERK:    Thank you.

25
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1             DIRECT EXAMINATION OF DEFENDANTS' WITNESS DANIEL AKINS

2        BY MR. GLEASON:

3             Q.    Could you state your name for the record, please.

4             A.    Daniel W. Akins.

5             Q.    Where do you work?

6             A.    I work at Flight Path Economics.

7             Q.    What do you do?

8             A.    I'm an economist devoted almost entirely to the

9        airline business.    And generally I describe myself as

10       someone who looks at operational and financial data from the

11       airline business and applies economic theory and statistical

12       analysis to that stream of data.

13            Q.    How long have you done that?

14            A.    For over 30 years.

15            Q.    What academic degrees do you hold?

16            A.    I have a diploma in postgraduate economics from

17       London School of Economics, and a BA in economics from

18       Gustavus Adolphus College in Minnesota.

19            Q.    Do you do airline industry consulting as well over

20       the course of your career?

21            A.    Yes.

22            Q.    Can you identify some of your clients?

23            A.    Sure, I think with relevance here I've got a

24       fairly deep bench in the cargo world.       I've done bilateral

25       negotiations for the U.S. carriers:      Southern Air, World
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1        Global, USA 3000.    I've done cargo forecasts for domestic

2        and foreign airports.     I've worked for cargo carriers

3        directly.   I have worked for Boeing and McDonnell Douglas to

4        market a large military aircraft for the commercial cargo

5        market.   And I've done an analysis for Cisco Systems, the

6        large manufacturer of network systems, on international

7        shipments by Fed Ex.    I worked for the U.S. Postal Service

8        to advise them on the transfer of what was called the Eagle

9        Network to Fed Ex back in the late 2000s after the Gulf War.

10       So I'm fairly experienced with the nature of the business in

11       the cargo industry.

12            Q.     You've been retained by the defendants in this

13       case to provide a report?

14            A.     Yes.

15            Q.     And can you first tell us what was the -- take a

16       look at Union Exhibit No. 3, please, in the union exhibit

17       book.

18            A.     Yes.

19            Q.     Is that your report -- your declaration and your

20       report?

21            A.     Yes.

22            Q.     Do you have a curriculum vitae attached to it?

23            A.     Yes.

24            Q.     That's appendix A?

25            A.     Yes.
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1             Q.    If you turn to page 70 of your report, is that the

2        beginning of your curriculum vitae?

3             A.    Yes.

4             Q.    And what were you charged or tasked with doing by

5        the defendant union?

6             A.    It was to evaluate the report by Dr. Lee that he

7        submitted by the plaintiff alleging union orchestrated pilot

8        behavioral change as well as the impacts resulting from

9        those changes.

10                  MR. GLEASON:    May I ask for a stipulation as to

11       his qualification as an airline industry economist?

12                  MR. SIEGEL:    So stipulated.

13                  THE COURT:    Then Mr. Akins testimony will be taken

14       in that light.

15       BY MR. GLEASON:

16            Q.    Mr. Akins, what data did you review to perform

17       your analyses and to prepare your report?

18            A.    I used data principally supplied to me by the

19       plaintiff.   It was a very large amount of data, it was not

20       very well organized.     And I can tell you that the amount of

21       data that we got was over 10 gigabytes.       And 10 gigabytes

22       might not mean anything to a lay person or someone who's not

23       familiar with dealing with large datasets.

24                  That amount of data was more data than I've

25       analyzed in 10 bankruptcies and probably 10 pilot seniority
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1        integration lists with many more times pilots involved than

2        the 1500 at Atlas.    So it was very daunting.

3                   It took us two weeks to get through the data.        We

4        were having trouble obviously understanding a number of

5        codes that were within the data.      The delay codes that

6        Dr. Lee referenced yesterday, there are perhaps a hundred

7        different delay codes that Atlas uses.       We didn't have ready

8        access to those codes.

9                   We worked with the plaintiff through your office,

10       Mr. Gleason, to try and clarify some of the information.

11       Two weeks into the process I believe, Dr. Lee sent us a more

12       manicured set of data that we were able to use.        But given

13       the nature of this process, I'm not satisfied with the

14       amount of time that we've had to analyze the data.        And

15       therefore, the rush to comment on Dr. Lee's statistics was

16       fairly attenuated even in my 77-page declaration.

17            Q.    Given the time constraints that you've had to work

18       under, nevertheless have you had an opportunity and have you

19       indeed based -- formed any opinions with respect to the

20       statistical analysis and reports submitted by Dr. Lee?

21            A.    Yes.

22            Q.    Can you summarize your opinions, please,

23       concerning that?

24            A.    Sure.   Dr. Lee's a seasoned veteran of these

25       issues.   I've seen him a number of times in court cases and
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1        arbitrations.    And he is a credible econometrician.

2        However, part of my analysis I guess focuses on the nature

3        of this carrier as different from carriers that perhaps

4        Dr. Lee has investigated in the past.

5                   This I think Dr. Lee would admit is a completely

6        different animal.    His past cases looking at pilot slowdowns

7        involved large U.S. domestic passenger carriers.        Atlas is

8        anything -- their operation is anything like that.        Atlas

9        operates one of the most complex operations of any airline

10       I've ever evaluated.    And that complexity stems their

11       operation being not only cargo but passenger; not only long

12       haul ACMI but also scheduled; not only for carriers like

13       DHL, but also for e-commerce businesses like Amazon; not

14       only for the military, but operating under the flag of

15       several foreign carriers.

16                  This carrier operates long haul international,

17       longer haul of military as well as for a number of different

18       customers that keeps expanding.      And my view of what this

19       company's done is stress the operation to the point where

20       it's testing the ability for the company to operate.

21            Q.    And are those views -- I'm sorry if I cut you off?

22            A.    No, no.   To get back to the point, I believe that

23       Dr. Lee tried to apply what he'd applied in past cases for

24       passenger carriers, principally United, U.S. Airways and

25       Spirit.   When you try and apply those same metrics to a
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1        carrier as growth oriented and increasingly complex as

2        Atlas, the analysis doesn't exactly work out as cleanly.

3        And part of what I've seen in Dr. Lee's analysis was this

4        new metric called departures that were delayed by six hours

5        plus.

6                   I can imagine that Dr. Lee has never used that in

7        any forum or any analysis before this case.       I've never seen

8        it.   I doubt I'll ever see it again.     I think it speaks

9        volumes to the fact that even though Dr. Lee had two years

10       to look at the data here, he didn't use what he did in other

11       cases which was largely arrival delays and cancellations.

12                  And this metric is -- according to Dr. Lee, a

13       1 percent change in departures that were six hours late that

14       only applies to 50 percent of the flights because the other

15       ones are tossed out because of weather.       And it's only

16       measured for less or about half of the period after Section

17       6.    So we've got sort of a very I believe contrived and

18       contorted evaluation of the impact.      And arrival data was

19       readily available to Dr. Lee in the two years he had prior

20       to this hearing to investigate the impact of the pilots'

21       alleged behavioral change on the operation.

22             Q.   In your report you reference the chronic lateness

23       of Atlas in its arrivals.     Can you elaborate for us, please?

24             A.   Well, I think this exhibit here, Exhibit 1, was

25       information provided by the plaintiff.       The blue line here
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1        is what I want to focus on and was the subject of something

2        Dr. Lee discussed yesterday on cross which is the fact that

3        Dr. Lee suggests in his rebuttal that airlines fly late all

4        the time.    I've never seen a carrier even one minute late

5        that has operational delays that Atlas displays here.

6        50 percent to 60 percent of its operations, according to the

7        company's data, are operating late.      And that could be one

8        minute.

9                    But I think part of the problem with the analysis

10       that Dr. Lee undertook here was that when he looked at the

11       large volume of arrival delays -- not departure delays, but

12       the large volume of arrival delays that's actually

13       increasing after 2013, it was very difficult for him to sort

14       out probably the impact that pilots could have had on this

15       chronically late operation.     Therefore, we get the six hour

16       plus delay as the metric for this case.       Never used in any

17       other case, and again it's only a 1 percent increase.

18            Q.     Do you have Exhibit 27 of your report up there?

19            A.     Yes.

20            Q.     Can you explain Exhibit 27, please?

21            A.     Sure.   We discussed this a little bit with Dr. Lee

22       yesterday.    I think he is right, that this is an end point

23       to end point chart that shows a very zoomed in analysis of

24       the period well before Section 6 notice starts on the left

25       hand side with January of 2013.
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1                   And if you look at the variability in January 2013

2        through about the end of 2014, we're talking about the

3        minimums on that chart being about 45 percent in 2013 when

4        the line goes down.    The minimums in 2014 -- the year after,

5        the minimum's about 50 percent.      And then you kind of see in

6        January of 2016 before the February 16th -- 2016 notice went

7        out for Section 6, that the minimum now on the bottom --

8        bottom velocity of that chart is now about 55 percent.

9                   So between 2013 and the Section 6 date, we've got

10       about a 10 percent increase in the number of Atlas' arrivals

11       that are arriving late.     And again, think back to what we're

12       talking about here.    There's a 10 percent increase to the

13       overall heartbeat of this company.      And we're talking about

14       a 1 percent increase to flights that are six hours delayed

15       or more for less than 50 percent of the flights, and only

16       for a portion of the Section 6 time.      That seems contorted

17       to me to prove a case that there's an impact here.

18            Q.    Do you have any other comments or further

19       explanations you'd like to provide the Court today with

20       respect to either that Exhibit No. 27 or Exhibit 1?

21            A.    Let's move on.

22            Q.    Let's talk about fatigue.     May I turn your

23       attention to Exhibit 16?

24            A.    Yes.

25            Q.    Actually, I guess you'd also have to take a look
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1        up on the screen.    What's in front of you up on the screen

2        would be Dr. Lee's Exhibit 7.      Do you see that?

3             A.    Yes.

4             Q.    And at the same time, could you also take a look

5        at your Exhibit 16?

6             A.    Yes, that's the same -- it's the same exhibit.

7             Q.    It's the same one, okay.

8             A.    Yeah.

9             Q.    Okay, they're the same one.      Can you explain

10       Exhibit 7 of Dr. Lee's report and Exhibit 16 of yours?

11            A.    As I said, this is an evaluation of the monthly

12       sick calls per 1,000 active pilots.      And this is a trend

13       which if you took off the --

14                  THE COURT:   I sorry, did you mean sick calls or

15       fatigue calls?

16                  THE WITNESS:    Fatigue calls, I'm sorry.     If you

17       looked at just generally we talked I guess a bit yesterday

18       or the day before that if you moved the Section 6 line

19       around and you decided that the Section 6 date wasn't

20       actually where it was, looking at this chart there's no way

21       to determine what Dr. Lee referenced in his paragraph 22

22       that you had him recite yesterday, Mr. Gleason, which is

23       starting at February 2016, there was a marked increase in

24       the volume of sick calls per -- sorry, fatigue calls in the

25       volume of 1,000 active pilots.
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1                    You really can't see that.    In fact, you see a dip

2        in the middle of 2016 in May, in June that sort of rivals

3        the 2014 period.    So what I view this as is something that

4        perhaps Dr. Lee -- you know, one of the problems in

5        statistics is everything isn't measurable.       We talked

6        yesterday about was he aware of the fatigue risk management

7        system, was he aware of the FAR 117.      He wasn't.    There are

8        a number of things that aren't measurable here.

9                    And so I think part of when I looked at this chart

10       and said how can Dr. Lee not see an obvious trend before

11       February of 2016 that relates to this generalized increase

12       that is occurring over time and in my mind has nothing to do

13       with the alleged bargaining leverage of pilot change in

14       behavior.   It also to me represents what I think the company

15       has represented as constant change, that the company is

16       constantly growing since 2013.      Underneath that constant

17       change is a dramatic change in pilot demographics.        Right

18       now from the pilot demographics that we discussed this week,

19       50 percent of the pilots are less than two and a half years

20       experienced.    And that means that every single flight has a

21       chance of having a copilot of almost a hundred percent of

22       having less than two and a half years of experience.         That's

23       a big dramatic change.

24                   When we talk about constant growth, we're talking

25       about things that relate to fatigue.      We're talking about
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1        things that I think yesterday Captain Clark mentioned

2        there's much more of a chance when you grow to have mixed

3        crews coming in from different places on the planet.        That's

4        what I'm talking about in terms of complexity, and it's

5        really hard to measure.     And I don't think Dr. Lee could

6        include everything.      And it's not random, there's a systemic

7        change going on here especially involving the nature and

8        complexity of this company, the demographic shift in the

9        pilots as well as the growth overall of this company.

10       They're adding stress to this system, and it's a very

11       complex operation.

12       BY MR. GLEASON:

13            Q.     What's on the screen is Union Exhibit No. 50 which

14       we've supplemented the record today, your Honor.        This is

15       not in Dr. -- I'm sorry, Mr. Akins' report, but this is

16       nevertheless part of his testimony today.

17                   Can you walk us through this Union Exhibit No. 50?

18            A.     Yes, sure.   This was an exhibit that had we had

19       the time before this hearing we would have prepared.        It's

20       an analysis of the change in the demographics of the pilot

21       workforce.    And it's gathered from snapshots of various

22       available Atlas pilot seniority lists.

23                   On the left hand side you'll see two items to

24       focus on.    One is the gray bar, and those numbers represent

25       the number of pilots on the Atlas seniority list that have
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1        three or less years of experience.      So this doesn't mean

2        people with three years of experience, it means people with

3        two years of experience, one year's experience or new hires.

4        So we've got very, very new pilots coming on to the

5        seniority list in the last three years before 2011 at kind

6        of the point where the company started growing.

7                   The red line above is another interesting point

8        which measures the most junior captain that's bid up on a

9        captain seat position from a first officer, and the number

10       of years that that first officer had when they bid up to

11       captain.   So that line kind of demarcates the difference in

12       general about where people are shifting from first officers

13       to captain.

14                  Generally a 50/50 mix on average is the number of

15       captains and first officers companies carry.       So we can

16       assume that almost everybody below eight years was a first

17       officer, pretty much everybody above at least had the chance

18       to bid for a captain seat in that year.       You move over to

19       August of 2012, 29 percent are less than three years

20       experience, nine years the junior captain and so forth.

21                  You get to a point -- and I want to stress this.

22       You get to a point -- even though there's constant change,

23       where in September of 2015 as you can see the stair step,

24       the demographic change begins to shift very rapidly.        36

25       percent up from 28 percent in 2015 in September.        Then you
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1        have 46 percent of the pilots are now less than three years

2        in September of 2016.     And you go to the most recent

3        snapshot, now we're talking about more than half of the

4        pilots employed by this company weren't on the seniority

5        list on January 31st -- sorry, December 31st, 2014.

6                   This company probably since its inception never

7        had as junior a workforce as they've got today.        Now we're

8        talking about captains that can bid and have bid and held

9        bids of three years as the most junior captain.        That's six

10       years less than what was normal even back during the initial

11       growth period from 2010 to 2012, 2013, 2014.       And you see

12       that remarkable drop from eight years of service in 2014 to

13       five years of service in 2015.

14                  These are the kind of statistics I think that

15       Dr. Lee could have included.     These aren't random effects.

16       This is the effect of constant growth and the pilot pool

17       tipping from a very senior pilot pool to a very junior pilot

18       pool.

19            Q.    Thank you.   Do you have any opinion with respect

20       to Dr. Lee's analysis on the sick calls?

21            A.    Yes, and I think I have an exhibit we could show.

22            Q.    I believe if you could turn your attention to 13

23       of your --

24            A.    Sure.

25            Q.    Could you explain this exhibit, please?
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1             A.     Sure.   Exhibit 13 is an exhibit from the data that

2        we looked at supplied by the company.       And you see on the

3        left side it's January of 2013.      And it shows the

4        percentages of calls per departure that pilots called in

5        sick.    Not short notice sick, not three days sick but all

6        day sick.

7                    What you'll see is that that blue line moves

8        around, moves up in 2014 to around 6 percent.       Sometimes it

9        goes above 6 percent.     And then after the Section 6 notice,

10       you'll see that it moves around a little bit.       Sometimes as

11       high as about 9 percent, sometimes as low as 6.        But the

12       interesting difference between this case and previous cases

13       that Dr. Lee looked at was that in every single one of the

14       other cases, there was a dramatic and significant increase

15       in sick use overall by Spirit pilots, by United pilots, by

16       U.S. Airways pilots that he investigated.

17                   So when you look at the nature of the sick calls

18       that Dr. Lee investigated, this analysis didn't fit what

19       he'd experienced previously with the other carriers.        And so

20       I would submit that the pilot behavior as far as overall

21       sick was the same before and after the Section 6 notice.

22            Q.     Any other opinions or conclusions that you would

23       draw with respect to the sick leave?

24            A.     I think it would help if we went to the next

25       slide.    So I'm done with the sick leave, I guess we can talk
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1        about open time.

2             Q.     Sure.    That's Exhibit No. 23 of your report?

3             A.     Right.

4             Q.     On the screen.   Can you explain Exhibit 23 from

5        your report, please?

6             A.     Sure.    Open time is sort of a natural by-product

7        of not fitting all the pilots into seats on all flights for

8        airlines.   However, I view open time as a voluntary work

9        offering to pilots to, number one, help out the company

10       fulfill otherwise unfulfilled flying, and to also supplement

11       their income.

12                   On the left hand side of this chart -- again this

13       is from company data, you'll see the percent of open time

14       trips that were offered as a percentage of departures,

15       overall Atlas departures.     You can see it climbs from

16       January 2015 to the middle of -- end of 2015, November.         It

17       kind of peaks about 7 or 8 percent of total departures.

18                   So as Atlas is growing, it's throwing more and

19       more trips into the open time bucket.       And that again is

20       risky flying for the company, because they have no one

21       assigned at the beginning of the month to fly those trips.

22       This is voluntary flying, this isn't a factory worker

23       looking at open time as overtime.      There's nothing illegal

24       about not picking up open time.

25                   So I think when Dr. Lee looks at the percentage of
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1        open time trips that were unfilled or the number of calls

2        that were made to fill those open time trips, in the context

3        of that, you have to look at the dramatic change that has

4        gone on with the number of trips that are available on open

5        time.

6                   One of the subjective factors on open time trips

7        that I think could be factored in is that as these trips

8        started being minimized, the number of trips in open time,

9        the company was taking risk out of its system because they

10       knew that they had scheduled pilots for these trips that

11       were otherwise put into open time after 2016.       But there's a

12       change in the desirability of some of these trips.

13                  The company had switched from what I discussed

14       with pilots to a more company deadhead operation.        Instead

15       of flying commercial planes with business class seats, a lot

16       of these open times now had company connections to even get

17       to the flying.    Long haul international company time in a

18       cargo airplane is a lot different deadhead than flying in a

19       first class seat on Cathay Pacific.

20                  So I think that kind of texture may reflect that

21       as these trips dropped, they may have been less desirable.

22       And open trips themselves may have been less desirable.         And

23       that's not a random fact that Dr. Lee would have to assess

24       as random.   That is something that could have gone into his

25       regression analysis.
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1                   But again, I think one of the problems with

2        statistics in general is everything that's impactful is not

3        measurable even if it's non random, and this is one of those

4        impacts.

5             Q.    Any other -- anything else you'd like to discuss

6        with respect to Exhibit 23?

7             A.    No.

8             Q.    Shall we move on then to mechanical delays, and if

9        you can take a look at Exhibit 29 from your report.

10            A.    So when I first read Dr. Lee's report, the

11       incidence of mechanical write ups, that section of change in

12       pilot behavior, I again looked at overall mechanical write

13       ups for Atlas aircraft from July of 2005.       This chart shows

14       the number of write ups that were made from July 2005 to

15       March of 2017.

16                  And what you'll see is exactly counter to what

17       Dr. Lee is claiming in that the pilots aren't the only ones

18       who write up airplanes on mechanicals, mechanics also do it

19       as well.   So even though his testimony is pilot write ups

20       went up -- and I'll agree with that, mechanics write ups

21       went down more than pilots write ups went up.

22                  So what we have here is a pretty steep trend in

23       the number of mechanical write ups as this gets bigger, more

24       complex, buying older airplanes as was discussed earlier up

25       until the point of Section 6, and then it drops down.           So
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1        the overall impact again is not apparent to me if the

2        mechanics are writing up some of the mechanical problems

3        with aircraft, and maybe the pilots are writing up a little

4        bit less because the mechanics are writing up what the

5        pilots otherwise did.     That's one theory, it's probably

6        valid.    It could also be that pilot write ups went up and

7        mechanics write ups went down.

8                   But the point is that there's a very dramatic

9        change that's counter to what Dr. Lee claims is that there

10       was an impact on maintenance write ups for departure, and

11       it's actually the opposite overall.

12            Q.    I believe there's a second slide, Exhibit 30?

13            A.    Sure.

14            Q.    Can you explain Exhibit 30 from your report,

15       please?

16            A.    Sure.   The top bar is the mechanics write ups.

17       The blue bar -- sorry, the top bar is the overall total

18       maintenance write ups per aircraft per month.       Then you have

19       the bottom bar being the pilot write ups and the blue bar

20       being the mechanic write ups.

21                  So what you see from the beginning of 2014 until

22       the end of 2015 essentially is an average write up for

23       mechanics of around 200.     It drops to about 159, 41 per

24       aircraft write up per month during this period.        You'll see

25       on the bottom, the pilot write ups went from an average of
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1        about 22 prior to the Section 6 notice, and jumped 12 to

2        average 34.

3                   So the difference between those is about 28

4        negative write ups compared to the period beforehand.           You

5        have 28 less write ups after Section 6 than before.        And

6        it's a combination of a slight increase in pilot write ups,

7        but also a big decrease in mechanics write ups.        So the

8        impact on the company is actually fewer write ups overall.

9             Q.    Let's move on.    We've had a lot of discussion on

10       extended delays in this case.      I'd direct your attention to

11       Exhibit No. 24 up on the screen from your report.        Can you

12       discuss that, please?

13            A.    Well, I think this was the most curious part of

14       the analysis that I saw from Dr. Lee which is again the

15       measure that's listed at the top is one of oddest measures

16       I've ever seen in airline operations.       There's nothing

17       magical about this.    It's odd in a number of ways, the

18       number of hours.    The nature of it is delay.     And again,

19       time-definite customers, the kind of customers that Atlas

20       serves, I think my experience in that business is that they

21       really care about when it arrives, not so much when it

22       leaves.   So the whole context of it was a little odd for me.

23                  But what also added sort of fuel to that fire

24       about being odd was the fact that he segmented the Section 6

25       date -- which if you read most of his testimony, Section 6
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1        was supposed to have triggered all kinds of bad pilot

2        behavior.   And because it doesn't really work as well in his

3        regression analysis to have the average of the Section 6

4        post Section 6 delays, the average of those isn't as big a

5        difference as if you just segment past December.        And he

6        couches it in terms of saying that most of the impacts from

7        pilot sick out an behavioral change didn't really kick in

8        until late 2016.

9                    But really we have to look at the majority of his

10       statements where he talks about February of 2016 as being

11       the date in which a lot of these things began to arise.

12       Sick time, fatigue, willingness to take open time all

13       supposedly kicked off.     So again, to try and make this case

14       work for the plaintiff, they have to make sure that there's

15       a big measure here for them to use in court to say we've

16       really been injured by this alleged pilot behavior.

17                   And I think part of the manipulation here that

18       I've not seen in any of Dr. Lee's other reports for other

19       carriers is to segment this to add value to that accusation,

20       statistical value.

21            Q.     Can you turn your attention to Exhibit 22 from

22       Dr. Lee's report and discuss this with us, please.

23            A.     And you'll see I guess Dr. Lee wrote like a

24       45-page rebuttal report to me, and a lot of it was

25       aspersions about my ability to understand multivariate
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1        statistics.   I went to the London School of Economics, I

2        took econometrics.    I know the sort of basic principles of

3        statistical analysis.     Nothing cast on Dr. Lee's analysis,

4        but he's had a couple of years to essentially manipulate and

5        look at this data and make the best case I believe possible

6        for his client.

7                   But when I looked at the statistics, I'm not going

8        to cede to Dr. Lee the basics of statistical analysis which

9        I highlighted in my report, okay.      Adding too many variables

10       to an equation adds complexity, and it also adds value to

11       what is called the explanatory power of the model, right.

12                  So when you look at this data and you look down

13       and see on the left hand side that our control factors --

14       and I completely understand what Dr. Lee is doing here.         The

15       top line he's segmenting out that first period he doesn't

16       like after Section 6 notice up until November.        And then he

17       would like to include a dummy variable that essentially

18       captures everything else that happened after that point

19       except for the control values and explanatory power of

20       industry delays, monthly block hours, long AOS rate and then

21       the day of the week, okay.

22                  So anything outside of those three things gets

23       ascribed to the pilots as a non random change that is

24       statistically significant.     But if you look at what's

25       actually happening during this period as we described,
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1        they're buying Southern; they've got Amazon as a new

2        customer; they've added Asiana and a whole host of other new

3        long haul customers.    They've added fleets, they've added

4        military obligations.     They've done a lot of things here

5        which Dr. Lee hasn't measured and aren't random.

6                   So when I look at the majority of these statistics

7        that Dr. Lee has in his extended auto analysis here on his

8        exhibit, one of the big problems I've got -- and Dr. Lee

9        rebutted me, I'm astounded by his rebuttal of this.        But he

10       said that econometricians don't care about R squareds that

11       much.   And R squareds are really the value of the variables

12       and the explaining the variation of the dependent variable

13       here which is delay.

14                  When you look down at the bottom of every one of

15       Dr. Lee's regressions, you'll see that there's less than

16       10 percent explanatory power in every one of these

17       regressions, okay.    Now, for him to claim that that's not

18       important essentially says that his modeling is not

19       important.   There is a goodness of fit issue that he's

20       measuring statistically that is measured by the standard air

21       on these statistics which is that little number below the

22       second line of every one of these variables analysis.           The

23       top line is coefficient, the bottom line is the standard

24       air.

25                  There are significant values here, but if you're
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1        talking about significance in the context of a model that's

2        only explaining 10 percent of the variability in departure

3        delays, that's not a very strong model in my mind.        It can

4        say a lot of things, but it can't say he's got a very good

5        grasp on the factors that he's chosen to model what is going

6        into departure delays and what's causing them.        He's

7        essentially saying that 90 percent of it is random, that he

8        can't measure it in these statistics.       And again, Dr. Lee

9        didn't know a lot of things about what was going on behind

10       the scenes, he readily admitted it.      We can't assign those

11       to randomness, we have to assign them to something.          And if

12       he doesn't assign them explicitly as a control variable or

13       an explanatory variable, it gets thrown into the mix of the

14       unknown with the dummy variable.

15            Q.    Can I turn your attention to your Exhibit 28 I

16       believe.   Can you explain this and how it fits into the

17       discussion we were having?

18            A.    Sure.   We had a discussion about a lack of arrival

19       on time.   This is actually the number of flights that are

20       arriving on time for Atlas between January 2013 and

21       December 2017.     And it shows that on this trend going end to

22       end, there's actually been a fairly significant increase.

23       Although it says significant because it goes from about one

24       and a half percent to two and a half percent in what Dr. Lee

25       described as a big impact on the operation resulting in
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1        departure delays, about 1 percent.      Again, this is from

2        Atlas data.    The carrier's actually becoming more and more

3        on time as time goes on rather than less on time.

4             Q.    Have you formed any conclusions regarding

5        Dr. Lee's report and analysis at this point, any additional

6        conclusions?

7             A.    Yeah, I think my conclusions again are that

8        Dr. Lee approached this in the same way he approached U.S.

9        Air, United and Spirit, and he found a completely different

10       set of circumstances here, hence the 10 gigabytes of data

11       that I got.    This is a different animal.     It's much more

12       hard to capture those kind of impacts on a carrier this

13       complex and growing at this rate.

14                  So I don't think based on some of the statistical

15       analysis that Dr. Lee has concluded are evidence and proof

16       at least statistically that these behaviors aren't happening

17       randomly and there's a very large impact based on this odd

18       statistic, that I don't believe the Court should take as

19       valid the analysis that Dr. Lee has done to prove their

20       case.

21            Q.    I think I neglected to ask you up front, your

22       declaration, your report, do you adopt that as your

23       testimony today?

24            A.    Yes.

25                  MR. GLEASON:    I have no further questions.
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1                   THE COURT:    Okay, thank you.    Any cross?

2                   MR. SIEGEL:    No cross.

3                   THE COURT:    You can call your next witness,

4        Mr. Gleason.

5                   MR. GLEASON:    We call as our next witness Dan

6        Wells.

7                   DEPUTY CLERK:    Do you solemnly swear or affirm

8        under the penalties of perjury that the testimony you will

9        give will be the truth, the whole truth and nothing but the

10       truth, so help you God?

11                  THE WITNESS:    I do.

12                  DEPUTY CLERK:    Thank you.   You may be seated.

13

14            DIRECT TESTIMONY OF DEFENDANTS' WITNESS DANIEL WELLS

15       BY MR. GLEASON:

16            Q.    Could you state your name, please.

17            A.    Daniel C. Wells.

18            Q.    And what do you do?

19            A.    I am a line Captain and check airman at Atlas Air.

20       I'm also the president of Teamsters Local 1224.

21            Q.    How long have you worked at Atlas Air?

22            A.    At this point, approximately 22 and a half years

23       starting at a then independent company Polar Air Cargo which

24       is now part of Atlas Air Worldwide.

25            Q.    Is that what we've referred to as Polar?
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1             A.    Yes, correct.

2             Q.    How long have you been a pilot in the industry?

3             A.    About 33 years professionally.

4             Q.    And you've been with this company -- if you will

5        Polar and Atlas, how long have you worked here?

6             A.    About 22 and a half years.

7             Q.    All right.   Have you held any other positions

8        other than as a line pilot and a check airman at either

9        Polar or today Atlas?

10            A.    I have.   Early on I was the director of standards

11       for our classic aircraft and the older version of the 747.

12       Then I was a chief pilot for Polar Air Cargo.       Notably

13       myself and a colleague were asked to help with the

14       transition of the airline operating certificate when we

15       moved if from the western region out in Los Angeles to New

16       York where it now resides with Atlas Air Worldwide -- or

17       then resided with Atlas Air Worldwide.

18            Q.    Have you held any other managerial positions at

19       any other companies?

20            A.    I did, I was on contract to be the director of

21       operations for Aloha Airlines.

22            Q.    You said you're the president of the Teamsters

23       Local 1224?

24            A.    That's correct.

25            Q.    How long have you been the president of Teamsters
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1        Local 1224?

2             A.    Since 2012, January 1.

3             Q.    And what are -- briefly what are your

4        responsibilities as principal officer, president of

5        Teamsters Local 1224?

6             A.    I'm responsible for managing the representation of

7        11 different airlines.     I am in charge of making sure they

8        have adequate representation under all of their collective

9        bargaining agreements.     I'm responsible for the finances and

10       the staff of the local, and also leadership of the so called

11       executive board which is made up of 17 different

12       individuals.

13            Q.    What craft of airline members does Local 1224

14       represent?

15            A.    Exclusively airline pilots.

16            Q.    About how many members does Local 1224 have?

17            A.    About 5,000.

18            Q.    We've heard a lot of testimony these last couple

19       of days over Atlas' operations including as an ACMI carrier.

20                  Does Local 1224 operate -- represent pilots who

21       work with carriers that also are ACMI carriers?

22            A.    Yes, we do, notably three that are very similar to

23       Atlas.    They are Kalitta Air, ABX Air and Southern.      They're

24       now part of AAWW, but nonetheless they are all ACMI carriers

25       and very similar in operations to Atlas.
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1             Q.    Which one is part of AAWW?

2             A.    Southern.

3             Q.    Is Kalitta a separate carrier?

4             A.    They are.

5             Q.    And ABX?

6             A.    They are.

7             Q.    So when you say those carriers are similar to one

8        another, what do you mean?

9             A.    Well, as you mentioned, they're all ACMI carriers,

10       air, crew, maintenance and insurance.       And they basically

11       engage in the same segments of business that Atlas Air does

12       -- or I should say Atlas Air Worldwide does.       In fact, they

13       are also large providers of lifts to the same large

14       customers as Atlas; namely DHL and Amazon among others.

15            Q.    Do you have an opportunity to interface with your

16       members that you represent at Local 1224, your pilot

17       members?

18            A.    I do.

19            Q.    You also fly the line for Atlas as a pilot?

20            A.    I do.

21            Q.    How do you fit them together?      How do you do all

22       your work?

23            A.    With great difficulty actually.      My goal is to fly

24       I would say at least half of a monthly schedule.        And by

25       that is a bid for a line like other pilots, and then we have
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1        a procedure within our collective bargaining agreement that

2        we carve out necessary time to be released for union duty.

3        That's my goal.    It's sometimes on average -- it works out

4        on average that way.     Sometimes I'll be off the entire month

5        doing union duty, sometimes I'll be flying the entire month

6        for union duty.    But I think I keep my foot in both camps

7        pretty well.

8             Q.    When you fly the line, do you have opportunity to

9        speak -- as an Atlas pilot, do you have an opportunity to

10       speak with your members while working?

11            A.    I do, I do.

12            Q.    Okay.   You said also you're a check airman.         Just

13       very briefly, what does a check airman do?

14            A.    A check airman instructor, a check airman is

15       charged with instructing pilots either in the simulator

16       function which we used to do the so called basic training on

17       airmen who come to the company.      And then also currently I'm

18       doing training on the line which means I fly with members as

19       they are getting what they call operating experience on the

20       line.

21                  And ultimately when we're done with that, whether

22       it's that student or other ones, we do what's called giving

23       a line check.    We're certifying that they're proficient.        In

24       that role, you are as much a representative of the FAA as

25       you are of the company.
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1             Q.    Well, is a check airman position, does that

2        require approval by the FAA to become one?

3             A.    It does, yes.

4             Q.    I'd like to -- you've been here for this hearing

5        since it started the other day, and you were here this

6        morning for Mr. Flynn's testimony concerning FAR part 117?

7             A.    Yes.

8             Q.    Do you agree with his description and explanation

9        as to Atlas' participation in the development of part 117?

10            A.    I don't.   I think there's two areas where he's

11       incorrect.   And he may simply be unaware of what was

12       happening, I don't know.     But he was correct to say that

13       there was the rulemaking committee which is a common

14       occurrence in these type of regulations, especially as large

15       as this.   The FAA invites so called stakeholders to that

16       meeting.   Obviously companies and members of trade groups

17       and labor.

18                  From the labor side, I was not personally

19       involved, but I'm also a board member on another

20       organization with pilot organizations such as American

21       Airlines, UPS and so forth called CAPA.       The important point

22       is that they had representatives in those ARCs as well.         So

23       I'm quite familiar what happened there, it's sort of a

24       matter of record.

25                  The company's position during those ARCs is
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1        basically we don't need any new regulations, the old 121

2        regulations are just fine, don't do anything.       And that was

3        the attempt to formulate the regulation.

4                   Ultimately they basically took none of the

5        company's regulations -- and here's where I think there's a

6        substantive disagreement with Bill -- with Mr. Flynn.           He

7        made the statement I believe that the FAA determined in 117

8        that the old regulations -- meaning the 121 regulations,

9        were safe for cargo.    They did no such thing.     And if you

10       look at the final ruling when it came out for FAR part 117,

11       it explicitly says that FAR 121 is inadequate to address

12       fatigue and rest in the industry.

13                  And in fact, it even has a statement that any duty

14       over -- I believe the number is 16, I can't remember

15       exactly, but I believe it's 16 hours is -- has the same

16       effect as someone being intoxicated.      And of course we know

17       that from the science, and that was the basis of 117.           The

18       source of the carve out was intensely political in nature as

19       you can imagine.

20                  And this is again where I don't know if Bill knows

21       what went on, but in particular if it wasn't Atlas

22       independently, they're a member of what's called the CAA,

23       the Cargo Aircraft Association.      They were one of the most

24       virulent opponents of 117 being applied to cargo carriers.

25       That was in existence before the final ruling and has
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1        continued ever since to that point.

2                   And he also brought up a lawsuit that was filed

3        with an incorrect conclusion.      He's correct to say that

4        IPA -- which is the union that represents the UPS pilots

5        exclusively, they filed a lawsuit against the FAA contesting

6        the cargo carve out, that is correct.

7                   But the conclusion of the Court was not again that

8        121 was adequate or safe, no such determination was made

9        from the Court.    That wasn't the question at hand.      It was I

10       think -- while I'm not an attorney and can't say precisely

11       the cause, but at its core of the case was an APA case,

12       American Procedures Act case.      They made the claim that the

13       FAA improperly excluded cargo from it because they alleged

14       that they did not follow the Congressional mandate to have

15       one level of safety or one set of rules for everyone.           And

16       that was based on some procedural matters during the

17       process.

18                  And essentially the reason why cargo was carved

19       out had nothing to do with safety, it had do with an OEM's

20       cost benefit analysis as was required and quite a bit of

21       political maneuvering there.     Again, the FAA didn't say 121

22       was safe, they just said the amount of accidents that were

23       going to occur because of fatigue were not worth the cost of

24       117.   That is the conclusion of that study.      To this day, we

25       think the study is wrong of course and we have been fighting
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1        back against that ever since.      So that is a continuing

2        battle, and the company is a continuing opponent of adopting

3        117 for cargo.

4             Q.    Let's move into another topic which is dealing

5        with Dr. Lee and his explanation about growth of Atlas over

6        the course of time.

7                   Without putting too harsh a word or too specific,

8        what I got out of his testimony was in his view it's kind of

9        a linear progression in terms of change, a steady change.

10                  Is that your opinion that Atlas is just steadily

11       increasing in terms of its operations and its size?

12            A.    Well, I'm not going to quibble with Dr. Lee's

13       numbers.   Frankly, I don't remember if that steady growth

14       was based on flights or block hours or so forth.        Whatever

15       that is, that's a matter of the data record.       But as a

16       pilot, as a check airman, I can tell you it doesn't seem

17       like a nice steady growth.     In this case, I would agree with

18       Mr. Flynn, it's been transformational.       That's had a big

19       effect on the operation.

20            Q.    We've heard about the addition of new aircraft

21       types, other things.    Can you describe the large amount of

22       growth -- or the transformational amount of growth that

23       you're describing here?

24            A.    Sure.   Maybe by way of example, the way I could

25       best describe it, if we were to accept Dr. Lee's assumption
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1        that this would be just a normal straight line, if we

2        imagine an airline -- say we were based in Cincinnati and we

3        had one aircraft type and we started out with 10 airplanes.

4        We had a hub and spoke operation out in back and we started

5        with 10.   Then six months later we had 12 airplanes, and six

6        months later we had 14 airplanes and so forth.        I would

7        agree with Dr. Lee that that would be something easily

8        handled and simply an incremental increase in the same

9        operation.

10                  But back to your question, what are we

11       experiencing.    When you take the company that arguably had

12       some of these things in existence before -- meaning two

13       different aircraft types, 747, 767, the addition of a

14       different variant of the 747 called the 747-8 that requires

15       different training, layer that with additional customers --

16       the Amazons of the world is the big one, but integrated with

17       DHL and our other new customers, all of these things

18       tremendously complicate the operation.

19                  They require different procedures for us on the

20       line and different destinations and so forth.       Undergirding

21       all of this is I think the graph that Mr. Akins put up shows

22       it.   You see that tremendous, tremendous throughput that's

23       happening.   That is a huge load on the company to manage

24       that amount of transformation.      I see it as an instructor on

25       the line going through there.
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1                   And what's I think maybe for your Honor to

2        explain, we tend to just talk about training as in someone

3        goes and we replace them or we need more pilots so we hire a

4        couple at the bottom and everything is equal.       That's not

5        how it happens.    Again going to the complexity, if we were

6        in my example of a 10 airplane fleet, that's basically what

7        would happen.    But because we have these different

8        airplanes, when we bring someone in on the bottom, what's

9        happening is on the top of that there's probably someone

10       most assuredly moving from one airplane to another airplane.

11       Entirely different training event.      There is somebody being

12       upgraded going from first officer to captain.

13                  So there's a ripple effect that happens with that.

14       Again, you add that to the volume of numbers that you see,

15       and it has something closer to an exponential function

16       adding to the complexity of the operation.

17            Q.    You were referring to the chart that Mr. Akins was

18       discussing, Union Exhibit No. 50?

19            A.    Yes, sir, sorry.    That was the one that was just

20       in his just previous testimony.

21            Q.    Thank you.   In terms of other changes, have there

22       been additional routes in destination airports that have

23       come on line for you for Atlas over the period of its

24       transformational change?

25            A.    There have been.    Atlas has already been to a lot
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1        of airports in the world over time.      When you add a

2        carrier -- customer, excuse me, Amazon who has its own

3        network, that came with some unique and different airports.

4        It's not so much that they're in that case hard airports or

5        particularly challenging, but those airports come that are

6        new to the company, don't have our own services there, new

7        to the pilots and so forth.     So yes, it does change the

8        operation.

9             Q.    And again, could you just describe -- I want to

10       make sure I heard that correctly, if I heard it at all, it

11       had to do with the amount of training.

12                  Has there been an increase in the amount of

13       training that's taken place here at Atlas?

14            A.    I could not give you the multiple, but it would be

15       many, many multiple fold increase in training over the

16       period of three or four years.      I would again go back to

17       Dr. Akins' graph that you just showed.       Every element of

18       that bar is a member -- excuse me, a crew member that's

19       being trained.    Inside of that there's another member being

20       moved from one airplane to another, and there's a captain

21       being upgraded.    Every one of those are distinct and unique

22       training events which both weigh down our training center --

23       which is our ground operation, and I think for this

24       discussion most importantly does have an impact out on the

25       line.   Because check airmen just like me are out flying with
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1        someone next to me, and no exaggeration, many of the people

2        that I have sitting next to me, somewhere in the

3        conversation it will come up as we're flying have you ever

4        been here before, what was your flying like before.        It

5        comes up, "Well, I've never left the United States."        And

6        they're doing it in the right seat of a 747.       That's the

7        level of experience.

8                    It's no degrading statement to say that for them,

9        I'm immensely happy that they get that opportunity.        But

10       that has a huge impact when I'm there on the ramp trying to

11       marshal everything done, conduct training as is required and

12       have discussions that are required to get this airplane off

13       the ramp.

14                   I'm just one of all the check airmen doing this.

15       As you see by those numbers, you'd have a hard time finding

16       an airplane that there's not some training going on probably

17       just looking at those numbers.      That's a very big underlying

18       factor in our operations over the period of years,

19       especially the last two or three years.

20            Q.     Thank you.    I'd like to move on.   You were here

21       yesterday for Captain Carlson's testimony?

22            A.     Yes, I was.

23            Q.     Yesterday he testified that as the amount of

24       scheduled operations increases at Atlas, there should be

25       more stability and predictability in the pilots' schedules.
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1        Do you agree with that?

2             A.    He said there should be and I would agree there

3        should be.   I can even see having knowledge of what happens

4        in the scheduling committees where the union deals with the

5        company, that has been the union's suggestion that it should

6        in fact do that.    And we've asked that to the extent

7        possible this -- when you have this scheduled flying segment

8        that schedules flying away from other operations, put pilots

9        on that operation and don't touch them, leave them there.

10       That would at least bring stability to the pilots and

11       thereby the operation.     That in fact has not happened.

12            Q.    When you say it doesn't happen, can you explain

13       what you mean by that?

14            A.    Sure.   Part of the business model is flexibility,

15       and we understand that.     How that metes itself out in

16       day-to-day operations, while those may be happening for DHL

17       flying between North America and Asia in one instance, out

18       of those Asian airports we have other customers, Cathay,

19       Asiana, so forth and, companies that we operate for.

20                  The company obviously wants to get maximum

21       productivity out of pilots and have the minimum number of

22       pilots to do it.    So if I'm operating a flight from the U.S.

23       over to Asia, for example Incheon, Korea, instead of me

24       having to lay over there and turning around and coming back

25       in the same operation, it's quite common I'll be removed
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1        from that and sent over to fly an airplane to Delhi on

2        another carrier or to some other place in Asia.        The pilots

3        do not stay with those scheduled operations.       The idea is

4        good one, that it should bring stability, but as far as us

5        and pilots, at least at this time we're not experiencing

6        t0hat.

7             Q.    How long does it affect the overall scheduling and

8        its impact on the pilots?

9             A.    We get our schedules initially by a monthly

10       schedule, we call that a bid.      We get that on seniority, and

11       we have a schedule that should be for the calendar month

12       roughly.   It has a series of trips involved in it.       It might

13       be one long string of 17 days, it may be broken up in a

14       couple of blocks largely depending on what airplane you're

15       flying.

16                  And as we've heard talked before, we need to be

17       able to plan ourselves to be fit for duty for those flights

18       when we show up at the flight.      And if you want to use the

19       correct FRMP language, we used to use the mitigation

20       technique so we're ready to go when we fly.       The problem is

21       it's quite frequent that before I ever show up for my first

22       flight on one of my segments, the entire trip pairing we

23       call it, the entire swath of trips is changed sometimes in

24       its entirety.    Sometimes it's changed one or two flights,

25       sometimes it's not.
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1                   But certainly more and more in my experience over

2        the last couple of years it's been changed.       So now we have

3        to make an adjustment.     And more so, when we're out on --

4        once we've initiated one of these trips, it's quite common

5        after we do a day of flying, we get to our hotels, we check

6        our schedule and wherein we had a plan on what our schedule

7        was going forward for the next 16 days or 10 days or

8        whatever the remaining schedule was, it can again change in

9        its entirety at that point.

10                  I'm not alleging anything that is wrong by the

11       collective bargaining, they are allowed to do that within

12       limitations of course.     But this is that complexity flowing

13       back into the schedules and lives of the pilots.        The

14       simplest example I could use -- and I used it because I

15       think it came up in several of the purported dishonest use

16       of fatigue calls that the company put forward -- and I'm

17       sorry, I can't recall which ones they were, but it involves

18       something I think is easy to understand.       If you go to bed

19       tonight and plan on you're going to be wakeful tomorrow at

20       9:00 o'clock in the morning and have a 12 hour day or a 20

21       hour day going from there, you do that, you take care of

22       that.

23                  When you wake up tomorrow morning to get ready to

24       go to work, for us to go to fly, we schedule a schedule

25       change.   No, sorry, your trip will be moved now 12 hours
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1        later or maybe even 16 hours later if that was the case.

2        Now, most of us probably put in 12 hours days in a normal

3        workday or something, of wakefulness.       Right at a time when

4        your body says it's time to collapse, they want you to fly.

5        We of course do everything we can to rest in between, and

6        largely they do, that's why our airplanes move.        But

7        sometimes it just doesn't work, your body won't respond like

8        a switch or like a robot.     So that is what you're seeing in

9        the fatigue reports that the company -- or I should say in

10       the allegations that the company put forward.       They were

11       entirely understandable instances that were accepted by our

12       committee as being of course this is what happened.          So

13       particularly egregious.

14             Q.   When you say -- what committee were you referring

15       to?

16             A.   In the FRMP program, when a pilot does call

17       fatigue and fills out a report and sends it in, there is a

18       council of people that review that report.       Their primary

19       report is to get data out of it.      But also their function is

20       to see if it's legitimate, if it wasn't a sick call and it

21       wasn't dishonest in the company's view.       And in every single

22       case that the company put forward, people made the judgment

23       these were correct fatigue calls.

24             Q.   These changes in the schedule you've been just

25       discussing with us when you're on the road, how long is an
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1        Atlas pilot out on the road if you will?

2             A.    Our schedules are to a maximum of 17 days.       Under

3        the most extreme circumstances we can be extended out to 20

4        days.

5             Q.    Have you yourself experienced these types of

6        schedule changes when you've been flying?

7             A.    Yes, many times.

8             Q.    Do they schedule changes ever involve changing --

9        in other words, do these schedule changes affect the

10       direction you're flying, the number of time zones you're

11       crossing, the countries you're going into?

12            A.    By the nature of it.     As I said, I'm currently on

13       the 747 aircraft, and the majority of our flying is

14       international.    So that's the nature of it, flying from

15       North America to Asia and Asia to Europe and so forth.

16       While we do do some domestic flying, but it can be

17       disconcerting and challenging when you wake up in Hong Kong

18       thinking I'm going to have breakfast and I'm going to fly to

19       Anchorage, Alaska -- very common flight for us.        And I wake

20       up, and instead I'm going to turn and I'm going to go to

21       Delhi, India or I'm going to go to Dubai.       And these things

22       happen all the time all around the world.

23            Q.    Have you heard any your fellow pilots at Atlas,

24       your members from 1224, complain about those types of

25       scheduling changes?
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1             A.    Well, it's two things.     I would say any one of our

2        pilots I would surmise would say yes.       And I will say as a

3        pilot check airman, yes.     And of course in my role in the

4        union, I hear it multiples more.      But I would reliably say

5        it is the number one topic of communication among crew

6        members from the moment you meet them in the hotel lobby

7        through the bus ride to the airport, in the cockpit through

8        the entire flight to sitting at dinner that night.        In fact,

9        I've had more than a few times I had to enforce cockpit

10       discipline wherein we obviously don't want to talk about non

11       related subjects when we're in we call it a critical phase

12       of flight.   We obviously don't want to be chitchatting about

13       anything other than flying the airplane.

14                  And I've had to several times tell my first

15       officers we'll deal with it later.      Or they're compulsively

16       using their device that we use for schedules, it's basically

17       a smartphone that we can check out schedules.       And they'll

18       be taxiing out on the airport and they're checking their

19       schedules.   And I have to commend them -- sorry, remand them

20       for doing that.    I would say it's the constant underlying

21       concern of the Atlas members.

22            Q.    Have you seen an increase over time in terms of

23       the number of schedule changes that are taking place?

24            A.    Exponentially.

25            Q.    Since over the last two years?
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                                                                             143

1             A.    I can't say there was a start and end point.         But

2        certainly over that period of time there's been a large

3        increase I would say in the slope of the line of schedule

4        changes, yes.

5             Q.    In your experience, when you're tired and you've

6        been out in the road and then your schedule changes so you

7        can't play for what you originally -- for your rest, you

8        can't plan for that anymore, what impact does that have on

9        you physically?

10            A.    It wears you down tremendously.      Under FAR -- in

11       the lead up to FAR 117, there was a tremendous amount of

12       research that was applied to that very question.        The

13       obvious effects were 117, they rewrote an entire regulation

14       to address that.    They even made some side comments,

15       something to the effect that the old rules have a very

16       large, but we can't quantify it, effect on the health of

17       pilots.   I mean, it's been empirically proven.

18                  In my experience, I can tell you it absolutely

19       rags you out over the course of the month.       And I've noticed

20       a big change as I'm getting to be the old guy anymore.          I

21       used to be handle a little bit more, but not now, I feel it.

22       There tends to be a wall you hit at some point based on your

23       flying, based on so forth.     And I've noticed too -- we joke,

24       I can get somebody to the breakfast table and I can tell by

25       how angry they pound the table and how cranky they are, we
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1        all say he's been out for more than a week.       You can see the

2        physical appearance of these people changes when they're at

3        the end of these schedules.

4                   THE COURT:   You're not suggesting that schedule

5        changes were the principal moving force for 117, but that

6        was just one of the factors that went into it I assume.         I

7        think you said a second ago that's why 117 was rewritten.           I

8        assume it was more of just a culture of pilots flying tired

9        than as a matter of safety people realized that was a

10       problem we need to address?

11                  THE WITNESS:    Well, your Honor, I misspoke if I

12       said it was schedule changes that caused 117.       If I said

13       that, I didn't mean to.

14                  THE COURT:   I may have misunderstood you.

15                  THE WITNESS:    Certainly it's on the transcript.

16       117 came because it was widely recognized and again written

17       into final rule that the 121 regulations, the old

18       regulations are inadequate to develop rest, period.        It was

19       scientifically proven.     And 117 was designed to help

20       ameliorate that and help fix that.

21                  Maybe I conflated a couple of things.       What I'm

22       saying is that my experience as a pilot at Atlas, we have

23       those old rules we have to deal with.       Listen, we cross

24       tens -- you could probably count hundreds of time zones in a

25       month.   It's well known and you probably yourself understand
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1        that that's very difficult.     There's a stress level when

2        people can contend with that or they can accept that.           And

3        everybody deals with that differently.       They accept it, and

4        then the next time they get to the hotel that acceptance is

5        blown up because now they're going someone else.        It does

6        have a very negative impact on people that I've seen.           And

7        everybody's different.     I myself have learned to deal with

8        it.   I have been one that I don't let those things bother

9        me, I have my own mechanisms for doing it.       But I do feel

10       the effects of these constant time zone changes and just

11       long days.   It's just a normal human response.

12                  THE COURT:   Okay, thank you.

13       BY MR. GLEASON:

14             Q.   Have you ever seen any of your pilots ever get

15       physically ill or get sick?

16             A.   Oh, many times.

17             Q.   How does that reflect in the changes to their

18       schedules that you've been describing?

19             A.   I don't have any empirical evidence for the

20       instances that I've seen, but based on what they tell me

21       that with the constant worry, constant changes in checking

22       and the changing schedules, that it does have a mental

23       impact on them.    Again, I think most people can understand

24       that when we're in a fast changing situation like that, that

25       that can upset people which leads to illness.
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1             Q.     Captain, was it you that also -- you said you're

2        starting to feel it yourself because of your age now that

3        you're getting to be one of the older guys.       Have you seen

4        any type of a -- particularly with the influx of all the new

5        hires here, have you seen any type of a generational

6        demographic change with this company?

7             A.     Oh, yeah.   Back to the massive changes, again the

8        underlying point is there's the old guys like me who have

9        been around at the company a long time, by the nature of

10       that doing this type of flying we do.       A majority of the

11       folks that you see in that graph, they're making up now the

12       bottom half of the seniority list, came from the regional

13       aircraft industry.      In large part they're flying smaller

14       aircraft and domestically and this is their first experience

15       in there.   And with those same folks, they're generally

16       probably two generations behind me now.       It comes up in many

17       funny ways in the cockpit.     But yeah, I'm pretty much the

18       old guy anymore on an airplane.

19            Q.     Have you experienced any type of at least

20       familiarity with the process of filing fatigue reports and

21       participating in the new FAR part 117 era if you will

22       between the younger generation of pilots that are coming on

23       board with Atlas versus the -- I'm going to use this, the

24       geezers like you and your colleagues who are senior and have

25       been there for a while?
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1             A.    Of course, absolutely.     I think it's a couple of

2        things that -- I hate to admit it, but yes.

3                   THE COURT:   I was going to say you're welcome to

4        reject the premise of that.

5                   THE WITNESS:    Believe me, I feel it inside.        When

6        they don't understand your jokes anymore, that's when you

7        know it's bad.    I'm sorry, ask the question.

8        BY MR. GLEASON:

9             Q.    The generational impact -- I'm sorry, may I move

10       around?

11                  THE COURT:   You may.

12       BY MR. GLEASON:

13            Q.    Have you seen any extra level of familiarity with

14       these programs by the younger generations than the older

15       generations that work at Atlas?

16            A.    Yes, and I think it's in two parts.      As I said, a

17       lot of them came from regional carriers.       Because they were

18       fully under 117, had very developed programs, fatigue risk

19       management programs, and it was just part of the culture to

20       do it.    They come walking in the door frankly with the

21       expectation of having a good program.       I hear it in terms of

22       complaints early on that we didn't have one.       I haven't

23       heard that recently that it's not working.       So there is a

24       familiarity.

25                  I think there's also again a generational shift.
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1        That goes to the geezer quotient there.       It was correct to

2        say before that there was maybe even a badge of pride worn

3        in the past that you were so called a freight dog, all these

4        different names for it; that you accomplished these crazy

5        flights and missions as the company calls them that we

6        probably had no business doing.

7                   But as you said, pilots are generally mission

8        oriented -- or I think Captain Carlson said that, we just

9        get it done.    There was a lot of that that was pervasive

10       over time.    And kids today -- and I can say that today, I'm

11       an old guy.    The kids today, they won't put up with it.

12       Maybe again it's a tenet of that generation, they won't put

13       up with that kind of abuse, they just thumb their nose at it

14       and walk away.

15            Q.    Have you seen any -- has it been your experience

16       flying for Atlas and also as principal officer of the local

17       representing Atlas members, have you seen any level of

18       additional training it requires to teach the older guys who

19       flew in a different era as it applied to fatigue?

20            A.    Well, I don't teach in the ground school that

21       Captain Lang does, he would have much more experience in

22       that.   As a check airman, you're supposed to teach the ways

23       of the company which includes that.      In other words,

24       encouraging people to be cognisant of their fitness for duty

25       and so forth.
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1                   I haven't had any personal experience trying to

2        teach them one that they won't take it.       But anecdotally,

3        there is still a small segment of that crowd around that

4        might stick to that idea, we're going to get the flight done

5        and so forth.    But mostly those have -- again getting back

6        to the chart of changing demographics, have attrited out and

7        retired, so that's going away.

8             Q.    Would you expect an old dog to learn new tricks

9        more quickly than a new dog?

10            A.    Probably not.

11                  THE COURT:   How much more time do you have with

12       this witness?

13                  MR. GLEASON:    I think I can do it -- if we need to

14       take a break.

15                  THE COURT:   That was my question.     How much more

16       time do you think with the witness?

17                  MR. GLEASON:    I think if we took like a five

18       minute break, I could work this through.

19                  THE COURT:   Well, what I would suggest is let's

20       really take a five minute break and make sure that

21       everyone's back in the courtroom in five minutes.        So let's

22       do that.

23            (Off the record at 3:45 p.m.)

24            (Back on the record at 3:54 p.m.)

25                  THE COURT:   You may continue.
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1        BY MR. GLEASON:

2             Q.    Are you ready, Captain?

3             A.    Yes, sir.

4             Q.    Do you think it's important for the union to

5        educate your members about the terms of the collective

6        bargaining agreements?

7             A.    Absolutely.

8             Q.    You represent airmen who are subject to many

9        different laws.    Do you think it's important to educate them

10       as to the laws and regulations that govern their work?

11            A.    Absolutely, it's one of our charters as a union to

12       do so.

13            Q.    We've heard a lot this week about BOOT.       I'd like

14       to try to reboot very briefly.      Can you walk us through -- I

15       know that the Judge had a series of questions over the last

16       couple of days involving this issue about BOOT and leaving

17       six minutes less early.

18                  Can you kind of, pun intended, kind of reboot and

19       walk us through the entire process of the BOOT, what that

20       does, what it means and why leaving six minutes less early

21       is actually important for pilots?

22            A.    Sure.   May I start with the statement in the brief

23       that's so offensive to me and to us?

24            Q.    Have at us.

25            A.    It's in Mr. -- sorry, Captain Carlson's
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1        declaration, if you can direct me to it.

2              Q.   Is that the one that deals with the statement that

3        says there is no on time?

4              A.   That's correct.

5              Q.   If you could take a look at Plaintiffs'

6        Exhibit 122 which is the declaration of Captain Carlson.

7              A.   I have it in front of me.

8              Q.   And then turn on the very bottom right hand corner

9        it says PX-122.017.

10             A.   I have it.

11             Q.   And then turn your attention to numbered paragraph

12       29?

13             A.   I have it in front of me.

14             Q.   That's the sentence that says from Captain

15       Carlson's declaration:     "The BOOT campaign which encourages

16       pilots to block out on time is a misnomer because there is

17       no extended hours."

18                  Is that what you --

19             A.   Yes, correct.

20             Q.   Can you please explain?

21             A.   Yeah, I think this is a good point to hopefully

22       clear this up.    First of all, that statement is patently

23       untrue.    Whoever wrote this either has no idea what they're

24       talking about or was putting this in here to intentionally

25       mislead the Court.
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1                   The idea that we don't have a scheduled departure

2        time as in STD, as in for our flights is absurd.        If I were

3        to look right now this moment on the company's schedule,

4        every single one of our flights has an STD on it.        Every

5        flight plan on every aircraft flying right now has a

6        scheduled time of departure, every pilot has a scheduled

7        time of departure.

8             Q.    Why is that important?

9             A.    Atlas is an FAA certified carrier.      With that,

10       there are a myriad of regulations they have to follow.          A

11       large number of those are time-dependent.       We've been

12       talking a lot about flight and duty time which we'll come

13       back to which includes rest.     But there are maintenance

14       requirements that are time-dependent.       There are weather

15       requirements that are time-dependent.       There are flight plan

16       filing requirements, there are route requirements and more

17       that are dependent.    And they're time-dependent to the

18       minute.   Not sort of, not close, not somewhere near, it's

19       precise to the minute.

20                  The company you heard say needs to respond to

21       their customers to their schedule.      We have no problem with

22       that.   In fact, that's great.     I appreciate the company's

23       flexible to do that.    But they can only do so if they meet

24       all of their regulatory requirements at that time.        That's

25       just a function of being a federal airline.       That's why you
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1        have to be certified to be an air carrier, because you have

2        to show that you follow all these regulations each and every

3        time.   A lot of that comes down to regulations that are

4        time-dependent at a specific time.      That's why if you look

5        at our schedule, it's very clear what that scheduled time

6        is.

7                   THE COURT:   So let me cut to the chase on this

8        here.   Accept everything you said then, what's changed then?

9        Because prior to whatever date it is that Dr. Lee used as

10       his bright line or the comparison date, on average the

11       flights were leaving six minutes before earlier with respect

12       to their scheduled departure time.

13                  That's not happening now.     So I take it you're not

14       saying that before that, pilots were just violating all

15       these different regulations and rules.       So the question

16       really isn't what the rules and regulations are, the

17       question is really what has changed.

18                  Is there some change that you can point to that

19       explains that six minute change or is the six minute change

20       something that was a pilot change in behavior that had

21       something more to do with its labor disputes versus some

22       other cause for the change?     That's what we need to get at.

23                  THE WITNESS:    Understand, your Honor, absolutely.

24       Absolutely there has been a change, and the change was

25       largely reflected from the chart you saw from Dr. Akins.        We
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1        have 50 percent of our crew members that have been there for

2        less than three years; captains that are upgrading in three

3        years, who three years ago many time had not left the United

4        States.    That's number one.   I explained earlier the amount

5        of training that's going on and taking place to make that

6        happen.

7                   As a small aside, a lot of that training takes

8        place in the airplane.     So when we're sitting on ramp ready

9        to go, I'll be sitting in the left seat and the new guy

10       here.   Instead of getting things done quickly, I have to

11       step through things piece by piece by piece and so forth.        I

12       have to let them make mistakes and correct them.        That level

13       of training alone could explain it.

14                  Beyond that, there is -- the same stress on the

15       organization you hear us talking about in terms of pilots is

16       also in every other department that I've seen in the

17       company:   Maintenance, dispatch, crew scheduling.       All these

18       other pieces that we deal with, whatever, has deteriorated

19       markedly over the last few years.      I can't give you the

20       reason other than stress, stress.

21                  There's another recent piece -- and I can't give

22       you the date on it, but the company's moved their

23       headquarters -- excuse me, operation center from Purchase to

24       Florence, Kentucky.    Great move, but the problem is in doing

25       so there's been many disconnects with the company there.
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1        We've experienced, I've experienced a great of deal of -- I

2        would just call it degradation of the performance of our

3        operation staff at the different airports we go.

4                    THE COURT:   When was it the move took place from

5        Purchase to Florence?

6                    THE WITNESS:   It was sometime this past year.       It

7        wasn't a light switch from one day to the next.        I think

8        they have some components of their operations still reside

9        there.   They have been moving some over to Florence,

10       Kentucky.   That I think has created some of the issues.         But

11       just in the day-to-day interaction has deteriorated quite a

12       bit.   What I see out on the line when I'm dealing with

13       mechanics who are contractors, disinterested, untrained and

14       so forth.   So there's that component as a result of it too.

15                   Finally back to the thing, when I'm done training

16       a new captain and he goes out and flies, many times every

17       airport he goes to he may have never been there before -- or

18       many airports, that's possible.      It takes longer when you're

19       doing that, it takes more preparation.       They're rightly

20       taking more time.    In fact, we just recently had a moment

21       that came out from our chief pilot Ray DuFour after we had a

22       near accident in Hong Kong because people were rushed.          He

23       said slowdown, take more time, don't make mistakes.        That's

24       the essence of when people are rushed.       So we're getting

25       directed in flight standards, in training who know full well
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1        what's happening here that apparently didn't make it to the

2        folks who wrote the briefs.     But that's what's happening

3        here.

4                   And it's quite well recognized by the flight

5        standards.    That's my anecdotal and experience based thing

6        on what's happening.    But your Honor, if I may, I don't want

7        to go deep into the whole regulation thing, but there's a

8        couple of things I think are really important for you to

9        understand and I think got missed.

10                  When Ed was doing it the other day, myself and

11       probably every pilot in the back of the room was jumping out

12       of their seats because of the misunderstanding of what was

13       being said.   So you get the fact that we have all these

14       regulations that were are time, flight duty time,

15       maintenance, everything.     The company makes the assertion

16       that if we're doing this, it's somehow taking something away

17       from -- the company can't function properly from that.

18                  That in itself should really call into question.

19       The company's required by law to put together a schedule

20       that works in accordance with all the regulations.        That

21       includes meaning enough time for maintenance, enough time

22       for fuel, so forth and so on.

23                  And the fact that they're saying that they need us

24       to leave early from the schedule that they've published to

25       the FAA and to their customers is inadequate, is in and of
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1        itself logically suspect.     That's number one.    And again,

2        complexity argument, they're pushing flights closer together

3        and so forth, so that's what it is.      That's important to

4        understand as the background.

5                   As far as the regulations go, you've heard about

6        all of these different pilots.      In the old days, I would go

7        out and fly sometimes 16 days.      I would have the same two or

8        three pilots with me for 16 days, for better or for worse,

9        you know, I'd be on a trip with them.       So everyone was kind

10       of attuned to each other in terms of rest and everything.

11                  I get in an airplane and I'm the captain, I have

12       with me now, most of the time I've never seen them before

13       number one.    And they have all come with an entirely

14       different schedule or back story let's say.       And these

15       regulations we keep loosely referring to -- and it kind of

16       doesn't matter, 117, 121, whichever one we're working under,

17       they go back as far as a year, they go back as far as

18       quarter, and they go back as far as a month, a week, a day

19       and they are to the minute.     And they're retrospective and

20       prospective.    By that I mean there's many times when we'll

21       say I can't block out from here because every minute I'm

22       going to be flying I'm dropping a minute for instance 12

23       hours ago.    We call it the 12 and 24 rule, I can't operate

24       more than 12 hours in 24.     So I will have a long flight and

25       come in.   I have to make sure that from the time I block in
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1        to the time I block out, it is 12 hours exactly to the

2        minute.   If not, I've just violated the FARs.

3                    And your question was a good one the other day.

4        So we have that 15 minutes, why don't we just call.        There's

5        a couple components to that.     One, we just said about this

6        deterioration of operations at the company, and that's just

7        happened.    There's a communications issue.     Captain Carlson

8        said we have what he calls the ACARS system.       And that's

9        true, that works sometime.     We have phones, that works

10       sometimes.    But remember when we make the call, assuming we

11       get through -- long wait times are normal.       But assuming we

12       get through, it takes them quite a while now to make the

13       determination.    I can't put words in his mouth, but if I

14       asked the director of scheduling, I'm sure he would say

15       please don't call because he has to go and do a tremendous

16       amount of work to rerun all the numbers to make sure there.

17       And just as a practical matter, that's why those things

18       don't happen, especially new captains and so forth.        The

19       only thing we can depend on is that the company has done its

20       job and they have followed all the regulations required.

21       They have told us what the scheduled departure time is,

22       whatever it is, and that they have followed all the

23       regulations for that.     We meet that and we're good.     I've

24       actually been told that personally and directly by

25       Mr. Juerta who is the FAA administrator.       Because we have a
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1        complaint about this mixed operation because of the

2        complexity, there's no way we can keep up with it.        Because

3        we are personally held responsible if violate the flight

4        regulation as is the company.      The company holds us

5        responsible, there's no way.     He basically said in a letter,

6        personal communication that as long as your scheduling

7        system, Ames, says it's okay, we're not going to bother you

8        because they understand the strangeness of it.

9                   As an aside, maybe to counteract Bill, the FAA

10       administrator Mr. Juerta says he doesn't want the cargo

11       carve out either, he wants it done, he wants it over with,

12       he can't handle both.     That's a personal quote from him in a

13       public forum.

14                  This is again a political matter.      But my point is

15       that the only things our captains have, particularly our

16       young captains and our young folks that can't rely on the

17       company or don't feel they can rely on the company.        The

18       only thing they have is that stake in the ground which is

19       departure time.    If I go there, I'm okay, right.      That's

20       what's happening.    So that again why it was different from

21       before, it's all these things working together -- and I

22       would go to Mr. Akins' thing, there really isn't much of a

23       change.   But if you just believe the six minutes thing,

24       that's what's happening in the company.

25                  THE COURT:   Okay, thank you.
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1        BY MR. GLEASON:

2             Q.    Actually, have you got up there union -- I'm

3        sorry, your Honor, if I can just keep walking around?

4                   THE COURT:    You may.

5        BY MR. GLEASON:

6             Q.    Union Exhibit 2, Captain Kirchner's declaration.

7             A.    Number 2 is the CBA.     Are you sure about that?

8                   MR. GLEASON:    May I approach?

9                   THE COURT:    You may.

10                  THE WITNESS:    I beg your pardon, I have

11       plaintiffs' exhibit.     Okay, I have it now.

12       BY MR. GLEASON:

13            Q.    I'm sorry, I don't have the page number.       But what

14       I'm looking for in Captain Kirchner's declaration, at the

15       very top right it will say page 44 of I think 47, so near

16       the end.   It is a document that's at the top called

17       operations bulletin?

18            A.    Yes, I have it.

19            Q.    Have you seen this -- it's also -- that's the best

20       I think we can do.    It's just page 44 of 47 on Captain

21       Kirchner's declaration.     Have you seen this document before?

22            A.    I have.

23            Q.    What is it?

24            A.    This is an operations bulletin which comes out as

25       part of our flight manuals.     And they are there so they can
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1        put out immediately pertinent information affecting the

2        flight of the aircraft.     It has the effect of being

3        certified by virtue of the fact it's in our operations

4        manual.

5             Q.     I see it says under the general part:      "We have

6        recently experienced a number of high profile events in Hong

7        Kong on arrivals and departures.      These events have occurred

8        on both the 747 and 767 fleets"?

9             A.     Correct.

10            Q.     Do you know what they're talking about?

11            A.     I am familiar more with the one with the 747.       I

12       heard there were 767s, but I'm not familiar with the event.

13            Q.     Tell me about the 747.

14            A.     From what I understand of the issue, a relatively

15       new group of officers had loaded the flight management

16       system which is the system that we use to navigate the

17       airplane.   And that is in the form of fixes that come out of

18       a database that we load in.     And once we take off, we

19       essentially follow the line established by this flight

20       management system.     They had loaded a box, and a point I

21       don't understand, had made a change to what was a database

22       departure by the first officers.      The captain came late to

23       the seat -- and I don't know the details of that, but in the

24       hurry to depart or the rush to depart -- whether that was

25       self-inflicted or not I don't know, but in haste he failed
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1        to recognize that they had improperly deleted one of the

2        fixes on this departure procedure.      That's countermanding

3        procedures both in terms of set up and in terms of

4        checklists and so forth which I'm sure training will

5        address.    But the effect of that was, so I understand, when

6        the aircraft took from the runway in Hong Kong, because

7        there was no -- excuse me, because of the missing waypoint,

8        instead of the airplane flying straight off the end of the

9        runway, it basically took a sharp right hand turn right

10       almost immediately after lift off.      Unfortunately there's a

11       very large set of hills just to the right of the runway in

12       Hong Kong, and they I believe came within 600 feet of

13       hitting the top of the mountain as a result.

14            Q.     Can you turn to the second page of that operations

15       bulletin.

16            A.     Is that 45 of 47?

17            Q.     Yes, it says at the top right page 45 of 47?

18            A.     Correct, I have it.

19            Q.     You see where it says down there, "Don't hurry"?

20            A.     Yes.

21            Q.     Can you read that, please?

22            A.     "Don't hurry.   There are many factors that

23       contribute to errors.     In many of the events that have

24       occurred recently, and not just in Hong Kong, ATC

25       contributed to the sense of urgency felt by the crew members
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1        in changing and complying with assigned clearances.        When in

2        doubt, slow down and make the changes methodically ensuring

3        both crew members verify" -- bolded and underlined, "that

4        the changes were made correctly."

5             Q.    This is a bullet that's issued by Atlas

6        management?

7             A.    Yes, it comes from flight operations.       I don't

8        know from who, but yes, essentially the management of the

9        company.

10            Q.    Do you agree with the advice that they've provided

11       under that don't hurry paragraph?

12            A.    Yeah, it's precisely what we as check airmen

13       should be teaching, especially the young guys, is one of

14       your jobs as captain goes beyond just doing the mechanical

15       things.    There's a lot of things that happen, we call is

16       chaos that happens pre-departure.      Maintenance guys coming

17       up to you, station people coming up to you, all these things

18       happening that have the effect of taking you off task.          One

19       of the key things you have to learn in that job is to manage

20       that, to be able to put those things aside, to focus on

21       something, complete it and then move on to the next task.

22       And that's something that everybody learns and does their

23       own way, but it's an important skill set that pilots need.

24            Q.    I'd like to -- particularly in the interest of

25       time, quickly draw your attention to Captain Carlson's
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1        declaration which is again Plaintiffs' Exhibit 122.

2             A.    I have it.

3             Q.    Could you please turn to -- on the very bottom it

4        will say PX-122.020.

5             A.    Got it.

6             Q.    I'd like to direct your attention to the bottom of

7        that page and paragraph 38, and in particular where it says:

8        "Pilots therefore are not engaging" -- actually it flips to

9        the next page where Captain Carlson states:       "Pilots are

10       therefore not engaging in normal operations if they write up

11       maintenance items other than those that affect air

12       worthiness."

13            A.    I see it.

14            Q.    Is it now or has it ever been at Atlas or anyplace

15       you're aware of in an airline, is it considered normal

16       operations for a pilot to check to make sure that there are

17       no mechanical issues affecting the plane?

18            A.    Absolutely not.    And if it was, it would be

19       unlawful if that was the procedure.

20            Q.    What would be unlawful?

21            A.    If we see an item that is inoperative or not

22       functioning, broken, we have no option but to write it up.

23            Q.    I see.

24            A.    And just to put it a little nuance on it -- and I

25       don't know if it was intentional again to mislead here, but
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1        when they talk about write up maintenance items, other than

2        those that affect air worthiness.      That's a bit of an FAA

3        term.    I would say in plain language that would be something

4        that would make the airplane not fly, a window being missing

5        or something like that versus some other item in the

6        cockpit.   There's no discretion for pilots to make that

7        determination.    We're not trained for that, we are not

8        licensed for that.    But it's really not a huge issue, and

9        that is because our job is to notice that something's

10       broken, put it in the logbook and hand it to the mechanic.

11       Their job is to make that very determination they're asking

12       for, is it air worthiness or not.      And they most likely can

13       allow the aircraft to fly anyway, but they have to do work

14       to make that happen.

15            Q.    What if it's something that's not a complete

16       electronic system in the airplane, what if it's a seat cover

17       issue?    What if it's something in the galley, something like

18       that?    Do you have any responsibility to at least identify

19       that that that is not working?

20            A.    Yes, we have the responsibility under the FAA and

21       company procedures to simply notice it by writing it up.          We

22       have no discretion whatsoever as to what we write up.

23            Q.    What about linens?

24            A.    Linens are not a write up in the logbook.       It's

25       not a maintenance item, it's a convenience item in there.
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1        And that goes to our need to get proper rest on the flight,

2        that's another issue altogether.

3             Q.    There are times you need proper rest on a flight.

4        Does that mean that you need a place to rest?

5             A.    Yeah, the regulations require if we do some of

6        these very long flights where they have what they call

7        augmented crews, that we have adequate rest facilities.         And

8        there's FAA definitions as to what that means.        The

9        airplanes have a hard bunk in the back which is okay as long

10       as you have a pillow and blanket to sleep.

11            Q.    I'd like to turn your attention to Plaintiffs'

12       Exhibit 36 and 37.    It's PX-36.002?

13            A.    36 and 37?

14            Q.    Yes, please.

15            A.    I have 36.

16            Q.    Okay. did you receive this letter?

17            A.    I did.

18            Q.    From Captain Carlson?

19            A.    Yes.

20            Q.    Take a look at -- did you respond to Captain

21       Carlson?

22            A.    Yes, we did.

23            Q.    Is that Plaintiffs' Exhibit 37?

24            A.    Yes.

25            Q.    In there it says that you had yourself called John
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1        Dietrich and informed him that the union was not directing

2        or coordinating the job actions.

3                   Did you ask him to substantiate the claims he was

4        making against the union?

5             A.    Absolutely, yes.

6             Q.    In the letter it says that:      "Mr. Dietrich refused

7        to provide any facts or details substantiating the claims

8        raised in Captain Carlson's letter, and that Mr. Dietrich

9        instead stated that Atlas would provide details at some

10       later time and in an appropriate forum."

11                  Did Mr. Dietrich give you any back up to

12       substantiate -- just that, to substantiate the claims

13       Captain Carlson was making to in letter from 2016?

14            A.    No, I specifically asked to -- I don't recall my

15       exact words, but we should confer, sit down, have a

16       conversation and determine what's going on, and if there's

17       any unlawful activity, to correct it.

18            Q.    Did anyone ever reach back to you and have any

19       follow up discussions with you after the receipt of your

20       letter to them -- to them meaning Atlas?

21            A.    No, not that I recall.     Just to be clear, we have

22       the letters here in front of us, and I had the conversation

23       with John Dietrich.    I don't remember if that was before the

24       letter or after the letter, I don't remember.       The

25       substantive result was the same which is I had specifically
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1        requested over a conversation with John to sit down and

2        solve it, and I was not provided with anything from him.

3             Q.    Anyone else, Mr. Flynn, anyone else from

4        management?

5             A.    Not that I recall.

6             Q.    You've heard this morning from Mr. Kirchner and

7        you heard yesterday from Captain Carlson about their meeting

8        at Legal Seafoods back in 2014?

9             A.    Yes.

10            Q.    Have you had any discussions yourself with

11       management at Atlas concerning contract compliance or

12       anything of that sort?

13            A.    Over time I've had many, but what comes to mind --

14       and maybe ironically I had a meeting with Captain Bob

15       Ulrich -- Robert Ulrich, Bill Flynn and John Dietrich

16       probably a couple of years before this letter in I believe

17       the fall of 2013.    And I should specify that Captain Robert

18       Ulrich was the exco committee chairman at that time.        He was

19       Captain Kirchner's predecessor in that meeting.        We were

20       there to discuss some specific issues, but the general theme

21       was the large and growing anger and frustration of the crew

22       members about many aspects of the company's operations.

23                  And of course they, as is our job, go to contract

24       compliance.   That's what we're there to talk about.       We

25       talked about some suggested fixes and so forth.        But I used
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1        the word ironically, because I said at that meeting -- and I

2        kind of remember it distinctly -- and I maybe even said it

3        since to John Dietrich if not Bill Flynn, is I mentioned --

4        I should say also this was in sort of honeymoon period after

5        our collective bargaining agreement.      And Bob Ulrich was

6        trying very hard to have a very open and I would call it

7        progressive relationship with management, meet, confer, get

8        things done and basically have a very productive

9        relationship with them.

10                  But again, there was growing anger amongst the

11       crew members that as they saw it the company wasn't

12       complying with the contract.     My point to John and Bill was

13       I -- I supported Bob entirely in that approach, Bob Ulrich.

14       I said if -- they have to help us.      They have to make it so

15       that Bob and I or the union can convince the crew members

16       that having that kind of interactive, productive

17       relationship shows results and gets something done.

18                  And with that, I mentioned to him, I said as an

19       analogy, this is like you have a small fire going out back

20       right now.   You have the ability to throw some water on it,

21       to tamp this down.    But if you don't, it's going to turn

22       into a raging bonfire of anger and frustration of the crew

23       members.   If they don't think Bob Ulrich, the previous

24       chairman, and his men can do this, they're going to find

25       someone who can.    It was all at that time about them
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1        following the contract.     And I used a quip I've used more

2        than once on John -- and other CEOs in this realm, is that

3        stolen from somewhere I've heard the saying that the company

4        gets the union they deserve.

5                   And the company absolutely is the one that created

6        this ground swell of frustration amongst the crew members.

7        That goes back a long way well before this current dispute.

8        So that's why I say it's ironic.      I did in fact have

9        meetings about this long before this current issue came

10       forward.

11            Q.    Is the Local 1224 or the International Brotherhood

12       of Teamsters, does that translate into advocating that you

13       now need to slow down, that it's on a concerted basis?

14            A.    No, absolutely not.     What it means is that crew

15       members elected Bob Kirchner on the theme of contract

16       compliance, and that's the core of what we do.        In fact,

17       it's required in our charter to make and maintain and demand

18       agreement.    It has all manners of things.     It certainly is

19       educating the members what contract provisions they have to

20       protect themselves from all these issues we've been talking

21       about, the scheduling changes and so forth.

22                  All of those things are in our charter to do so.

23       Bob had his own way of doing it, he's been very successful

24       at getting the crew members to work in unity, bind to the

25       union.    I heard yesterday a comment of Jeff Carlson which I
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1        will second.    I forget who asked, but they said and Bob

2        Kirchner are no shrinking violet.      I'll concur with that,

3        both of those.     I'll also say I've got 5,000 non shrinking

4        violets I have to deal with.     There were 1500 at Atlas I

5        should say, everyone one of them wants to be in charge and

6        wants to make the company comply.

7             Q.    Last --

8                   THE COURT:    I'm not sure I have --

9                   MR. GLEASON:    I only need --

10                  THE COURT:    You've got 30 seconds.

11       BY MR. GLEASON:

12            Q.    Your declaration which is Union Exhibit 35, do you

13       affirm and adopt your declaration as part of this testimony?

14            A.    I do.

15                  MR. GLEASON:    I'm done.

16                  THE COURT:    I'm going to have to -- the witness is

17       excused, but I'm going to go take this call and I will come

18       back as soon as we can, but I don't have time do that now.

19            (Off the record at 4:45 p.m.)

20            (Back on the record at 5:13 p.m.)

21                  THE COURT:    My apologies for keeping you all

22       waiting.   I should have asked Mr. Siegel whether you wanted

23       the opportunity to cross-examine that last witness?

24                  MR. SIEGEL:    We have no cross for Captain Wells.

25                  THE COURT:    Mr. Gleason, do you have any further
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1        evidence you want to offer?

2                   MR. GLEASON:    Just a clarification.    We discussed

3        a second expert, Dr. Von Thaden.      We have a stipulation that

4        she is indeed qualified as an expert.       I'll make a

5        representation to the Court that she will affirm and adopt

6        her report as part of this record.

7                   THE COURT:    Any objection?

8                   MR. SIEGEL:    No objection.

9                   THE COURT:    I'll treat her report as an expert

10       report accepted into evidence.

11                  MR. GLEASON:    Yes.

12                  THE COURT:    And what about all the exhibits at

13       this point?

14                  MR. SIEGEL:    I think we have agreement.      We have

15       this one issue that was raised about the redacted

16       transcripts and trying to conform them.       The good news is

17       the two parties have talked, and we're going to be able to

18       agree on a common version of the transcript with the

19       redactions indicated.     And we're going to work together to

20       do that in the next couple of days and try to get it to the

21       Court no later than Monday.

22                  Other than that, I think we have both agreed

23       that -- I'll speak for myself, but we're in agreement that

24       we'll stipulate to the admission of all the exhibits subject

25       to the hearsay objections that were made.       But we're not
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1        attempting to argue those objections to the Court.        But we

2        are stipulating to the admissibility of all the exhibits.

3                   THE COURT:   Okay.   Mr. Gleason, do you agree with

4        that as well?

5                   MR. GLEASON:    We do in that -- not just the

6        hearsay but at least I will -- obviously we have to argue to

7        the weight of any particular document, you know, we'll raise

8        it in our papers.    But no, we are in agreement that we'll

9        put the exhibits into the record subject to our hearsay.

10       And if I have like a foundational issue that's particularly

11       glaring, I'll raise it there.

12                  THE COURT:   With respect to the objections that

13       have been made already, I would say if you want to make an

14       objection, you should renew it.      It's not helpful to the

15       Court to have 400 objections.      I need to know what you

16       really care about.    So in your post hearing briefing, if

17       there's an issue that goes to the reliability of a piece of

18       evidence, you should indicate that at that time.

19                  MR. GLEASON:    Yes, we agree.

20                  THE COURT:   And you've probably given some thought

21       to what your post trial submissions should look like.           I've

22       given a little thought to it, but I'm open to your views on

23       it as well.   It seems to me it would be good to have

24       proposed findings of fact from the parties.       It would be

25       helpful that they not be 200 pages long, but that you figure
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1        out what facts really matter with respect to the legal

2        arguments you want to make or the legal arguments that you

3        want to rebut that your opponent has made in this case.         So

4        think about the real relevance and focus on what you think

5        is the most important.

6                   I would request that you include record citations

7        in those proposed findings, and that in doing so you act in

8        a manner that is conscious of the evidence that the other

9        side has offered just so that we don't have ships passing in

10       the night where you just take all of your evidence and say

11       here's our proposed findings and cite to all of our evidence

12       and don't consider the fact that there might have been a

13       report that came in or some evidence that was arguably to

14       the contrary.    Think about the way you do it and they way

15       you address it.    It will be more helpful to the Court.

16                  By way of example, you say that today is Thursday,

17       see the expert report the calendar.      But then you say there

18       was testimony that said considering Zulu time, it actually

19       is Friday already in some parts of the world citing to that

20       testimony.   And then you can come back and say but what

21       matters for present purposes is what the date is in

22       Washington, D.C.    So if you can be conscious of the evidence

23       that's come in on the other side, because otherwise I'm

24       going to have put the parties' proposed findings next to

25       each other, and then go back and forth and decide who's
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1        right on each one.    If you actually anticipate what the

2        other side is going to say, I think that will help.

3                    With respect to the legal issues, there's already

4        been a fair amount of legal briefing.       You're welcome to

5        submit further legal briefing.      In my experience, proposed

6        conclusions of law are not as helpful as briefing issues

7        that you think are important issues and citing to the

8        relevant cases and including your relevant argument.

9        Perhaps after the hearing we've been through, you may have a

10       focus on what the key legal issues are in the case, and

11       you're welcome to submit briefs on that.

12                   But I think doing it in the form of numbered

13       paragraphs of proposed conclusions always struck me as a

14       little bit artificial as opposed to the findings of fact

15       which I think would be most helpful and probably by breaking

16       them down in different arguments and different sections, all

17       consecutively numbered, part A, part B, part C.

18                   Before we turn to timing on this, let me ask the

19       parties about page limits on doing this.

20                   MR. SIEGEL:   I hadn't thought about page limits,

21       but because you know I'm asking -- the Court knows I'm

22       asking for an expedited brief, I would understand that the

23       briefs would be relatively short.      And I also really do

24       recognize we've argued the law pretty extensively before we

25       got here.   I think there are a few issues that came up in
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1        the openings and some of the good questions from the Court.

2        So I'd like to use the brief --

3                   THE COURT:   I mean, I can identify for you both

4        one question that -- that I've been thinking about.        I have

5        to say I don't know how I'm coming out on the merits of

6        this.   There was a lot of evidence presented.      I think you

7        all did a fine job under tough circumstances, and you're to

8        be commended for that.

9                   One issue that did occur to me if I were to decide

10       that the plaintiffs were right about one or more of the

11       areas that they've identified, I'm somewhat troubled what an

12       appropriate remedy would be.     Appropriate in two senses, one

13       is appropriate in the sense of not posing itself any safety

14       issues.   I'm not going to issue an order that says pilots

15       have to fly when they're fatigued, pilots have to fly when

16       they're sick obviously just for example.       Or that you must

17       block out 10 minutes before whether you're ready to go or

18       not.    I don't think anyone would expect me to do that if I

19       reached the conclusion in favor of the plaintiff.

20                  So that was one issue.     The other issue is if the

21       Court were to conclude on one or more of the issues that the

22       plaintiffs were right, what sort of order could I issue that

23       would be enforceable and meaningful in that there was

24       testimony here, I think Captain Carlson himself said:           "I'm

25       not in a position to say whether a pilot is being honest or
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1        dishonest about sick or fatigued."      I can look at the

2        aggregate and tell you what the aggregate is.       As a Court, I

3        know I'm less equipped than Captain Carlson is to make those

4        determinations.

5                   If the Court were to come out that way, how could

6        I write an order that would be meaningful?       I'm not sure it

7        would make sense even if I came out that way that said to

8        the union you shouldn't advise pilots that if they're

9        fatigued they need to let the company know they're fatigued

10       and they shouldn't fly.     But I don't think you're going to

11       know at the end of the day if the union continues or tells

12       pilots look, you're fatigued, don't fly.       You will see

13       statistics that you see now, and I don't know that anyone is

14       going to be in a position to know what that means and

15       whether there's a violation of a court order.       I'm not

16       saying you need to address that today, but I think in

17       addition to briefing the merits of the case, the parties

18       should address what the Court could do that would be

19       meaningful.

20                  MR. SIEGEL:    We will do so in the brief.     And I

21       don't want to make this an argument on the issue, but I will

22       tell the Court that there is precedent on the question

23       you're asking.    And it was a supplemental decision from

24       Judge Conrad in the U.S. Airways versus USAPA case.        It was

25       exactly on the precise issue.      It was after Judge Conrad
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1        issued the injunction, there was a question from the union

2        about how it applies to individual pilot discretion on

3        something like sick.     Judge Conrad issued a supplemental

4        statement clarifying what he was and wasn't enjoining, so

5        we'll provide that as part of the briefing.

6                   THE COURT:    Well, I just raised this as an issue.

7        As I said, I don't know how I'm coming out on the merits.

8        But assuming that I were to reach a question of relief, I

9        think that's something the parties need to address.

10                  MR. SIEGEL:    We'll be glad to provide that.

11                  THE COURT:    I do think having some page limit may

12       concentrate one's mind so you put on paper what's important.

13       I think with the findings of fact and conclusions of law,

14       find out what's really most important there.       I defer to you

15       all in the first instance, but I think something in the

16       neighborhood of 30 pages -- I mean, you tell me, 35 pages.

17                  MR. McGUINNESS:    Including the findings of fact?

18                  THE COURT:    All I'm talking about is just the

19       finding of fact at this point.

20                  MR. GLEASON:    That's a lot of words, that's a lot

21       of paragraphs that go in there.      We may have to come back

22       for a few pages extra.

23                  THE COURT:    Well, I'll tell you what.     The main

24       thing is I want you both for your benefit and for my benefit

25       to keep it focused on what really matters.       Why don't I
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1        specify 35 pages, because I don't want to keep you from

2        including something you think is important.       From my

3        experience, if you can come in at 30 pages and you think

4        that makes your point, I think that's more effective at the

5        end of the day.    But I'll give you leeway to file something

6        that's 35.

7                   Then what about timing -- oh, on the legal

8        briefing, I'm less concerned about that because I think

9        you've done so much on that already.      I would be surprised

10       if anyone had in mind filing a 40-page legal brief at this

11       point.

12                  MR. SIEGEL:    I'd like to file a short legal on

13       some of the points that came up during the case, but not

14       very much of -- 15 pages, something like that.

15                  MR. GLEASON:    Again, I don't want to burden the

16       record with anymore paper than is already in there, but we

17       would anticipate explaining a little more detail about the

18       Norris-La Guardia Act.     I think 20, 25 pages would support

19       that.

20                  THE COURT:    So why don't I say 20.    If you need to

21       come back to me -- you can confer in the first instance with

22       Mr. Siegel, try to come to an agreement.       If you can't reach

23       agreement, you can come to the Court for an extension.

24       Given the timing issues here, what I would suggest is don't

25       go to the trouble of filing a formal motion on that.        If you
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1        talk about it and you think it's something you need to raise

2        with the Court, you can both jointly call chambers.        I'd

3        request that you both be on the phone.       Call my clerk, and

4        we can expedite things that way.

5                   Now the issue that is I'm sure going to generate

6        some difference of opinions.       What about timing?

7                   MR. SIEGEL:    I have mentioned to the Court --

8        certainly -- I don't usually argue for an excessively short

9        period of time to file a brief, but in this case I've been

10       singularly focused that a brief be due one week from today.

11       It is a preliminary injunction and we filed it at the end of

12       September.

13                  THE COURT:    Mr. Gleason?

14                  MR. GLEASON:    I don't mean to sound like a one man

15       band.   One week today Thursday when the next day is a

16       holiday I think is a little too ambitious.

17                  THE COURT:    How about if I give you the holiday,

18       maybe your telephone will be quieter on Friday.

19                  MR. GLEASON:    When you say give me the holiday,

20       does that mean Friday or does that mean Monday?

21                  THE COURT:    Friday.   The less time you take means

22       the more time I have.

23                  MR. GLEASON:    Does that mean Friday, any time

24       Friday?

25                  THE COURT:    Yes, up until midnight.    I'll give you
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1        up until 6:00 a.m. Saturday morning if you want to stay up

2        all night.    I can tell you when I was in private practice, I

3        was involved in cases where we filed briefs in the Ninth

4        Circuit where it was 2:59 a.m. D.C. time when we filed them.

5        So I know how that can work.

6                    So how about if you file by November 10 -- on or

7        before November 10th.      Obviously I'm not going to hold it to

8        you if you're filing something shortly after midnight or

9        something like that.      I'm not going to pick up anything and

10       look at it until the next morning.

11                   MR. SIEGEL:    Thank you.

12                   THE COURT:    Anything further that we should take

13       up today?

14                   MR. SIEGEL:    Thank you to the Court.

15                   MR. GLEASON:   Thank you to the Court and to the

16       courtroom staff and your clerk.

17                   THE COURT:    I should thank the staff as well.     The

18       staff has my thanks as well.     Thank you.

19            (Proceedings adjourned at 5:29 p.m.)

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